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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK



PJ FOOD SERVICE, INC.,
                                             Case No.
            Plaintiff,
v.

                                             COMPLAINT
AGRI STATS, INC., CLEMENS FOOD
GROUP, LLC, THE CLEMENS FAMILY
CORPORATION, HORMEL FOODS
CORPORATION, HORMEL FOODS, LLC,
JBS USA FOOD COMPANY, SEABOARD               Jury Trial Demanded
FOODS LLC, SMITHFIELD FOODS, INC.,
TRIUMPH FOODS, LLC, TYSON FOODS,
INC., TYSON PREPARED FOODS, INC.,
and TYSON FRESH MEATS, INC.,
          Defendants.
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I.      NATURE OF ACTION

        1.      Defendants are the leading suppliers of pork in an industry with approximately $20

billion in annual commerce. The United States pork industry is highly concentrated, with a small

number of large producers in the United States controlling supply. Defendants and their co-

conspirators collectively control over 80 percent of the wholesale pork market.

        2.      Defendants Agri Stats, Inc. (“Agri Stats”), Clemens Food Group, LLC, The

Clemens Family Corporation (“Clemens”), Hormel Foods Corporation, Hormel Foods, LLC

(“Hormel”), JBS USA Food Company (“JBS” or “JBS USA”), Seaboard Foods LLC (“Seaboard”),

Smithfield Foods, Inc. (“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc.,

Tyson Prepared Foods, Inc., and Tyson Fresh Meats, Inc. (“Tyson”), entered into a conspiracy

from around 2008 or early 2009 through the present (referred to herein generally as “relevant

period” or the “class period”) to fix, raise, maintain, and stabilize the price of pork.1 Along with

their co-conspirators, Defendants implemented their conspiracy by agreeing with their competitors

to restrict output and limit production with the express intended purpose and expected result of

increasing and stabilizing pork prices in the United States. In furtherance of the conspiracy,

Defendants exchanged detailed, competitively sensitive, and closely guarded non-public

information about prices, capacity, sales volume and demand through their co-conspirator,

Defendant Agri Stats.

        3.      Beginning at least as early as 2009 and continuing through 2017 or later, Agri Stats

began providing highly sensitive “benchmarking” reports to Defendants. Benchmarking allows



1
  For the purposes of this Complaint, pork includes all pork products, regardless of the form in which they
are sold, and all products containing pig meat, whether purchased fresh or frozen, including but not limited
to smoked ham, sausage, and bacon. From time to time in this complaint, “pork” and “swine” are used
interchangeably, particularly when referring to the pork or swine industry.



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competitors to compare their profits or performance against that of other companies. However,

Agri Stats’ reports are unlike those of other lawful industry reports. Agri Stats gathers detailed

financial and production data from each of the Defendants, standardizes this information, and

produces customized reports and graphs for the co-conspirators. The type of information available

in these reports is not the type of information that competitors would provide each other in a

normal, competitive market. Instead, the provision of this detailed information acts as the modern

equivalent of the proverbial smoke-filled room. Rather than meeting in a room with pen and paper,

Agri Stats collected Defendants’ competitively sensitive supply and pricing data and intentionally

shared that information through detailed reports it provided to them. On a weekly and monthly

basis, Agri Stats provides Defendants with current and forward-looking sensitive information (such

as profits, costs, prices and slaughter information), and regularly provides the keys to deciphering

which data belongs to which producer. The effect of this information exchange was to allow

Defendants to coordinate their anticompetitive conduct, monitor each other’s production and hence

control supply and price.

       4.      This data exchange through Agri Stats is a classic enforcement and implementation

mechanism of a price-fixing scheme. First, the data is current and forward-looking – which courts

consistently hold has “the greatest potential for generating anticompetitive effects.” 2 Second,

information contained in Agri Stats reports is specific to pork producers, including information on

profits, prices, costs and production levels, instead of being aggregated as industry averages, thus

providing transactional specificity and easy identification of specific producers. Third, none of the

Agri Stats information was publicly available. Agri Stats is a subscription service which required



 2
  Todd v. Exxon Corp., 275 F.3d 191, 2011 (2d Cir. 2001) (Sotomayor, J.) (quoting United States v.
 Gypsum Co., 438 U.S. 422, 441 n.16 (1978)).



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the co-conspirators to pay millions of dollars over the relevant period – far in excess of any other

pricing and production indices. Agri Stats ensured that its detailed, sensitive business information

was available only to the co-conspirators and not to any buyers in the market. Defendants utilize

the information exchanges through Agri Stats in furtherance of their conspiracy to fix, raise,

stabilize, and maintain artificially inflated prices for pork sold in the United States.

       5.      While Defendants went to great lengths to keep the existence of the conspiracy a

secret, they admitted in public calls that they had discussed production cuts at least once, and

publicly signaled to each other that no supply increases would happen. Furthermore, each

Defendant engaged in acts in furtherance of the conspiracy by participating in such supply cuts

and by limiting increases in supply that otherwise would have occurred.

       6.      In addition, there are numerous “plus factors” in the pork industry during the

relevant period, including but not limited to multiple industry characteristics which facilitate

collusion, such as vertically integrated operations, high barriers to entry preventing competitors

from coming into the market, high pork industry consolidation and concentration, inelastic supply

and demand, and homogeneity of pork products.3

       7.      Defendants’ restriction of pork supply had the intended purpose and effect of

increasing pork prices to Plaintiff. Around 2009, Defendants’ earnings began to increase, as they

took an increasing amount of the profits available in the pork industry. As a result of Defendants’

unlawful conduct, Plaintiff paid artificially inflated prices for pork during the relevant period.

Such prices exceeded the amount they would have paid if the price for pork had been determined

by a competitive market, without Defendants’ anticompetitive behavior. Thus, Plaintiff suffered

injury and damages due to Defendants’ anticompetitive conduct.


3
 Pork is homogenous within cut type—e.g., pork bellies produced by two different Defendants are
virtually indistinguishable.


                                                   3
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II.    JURISDICTION AND VENUE

       8.      Plaintiff brings this action under Sections 4 and 16 of the Clayton Act, 15 U.S.C.

§§ 15 and 26, for injunctive relief and to recover treble damages and the costs of this suit, including

reasonable attorneys’ fees, against Defendants for the injuries sustained by Plaintiff by virtue of

Defendants’ violations of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       9.      This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and Sections 4 and 16

of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

       10.     Venue is appropriate in this District under Sections 4, 12, and 16 of the Clayton

Act, 15 U.S.C. §§ 15, 22 and 26 and 28 U.S.C. § 1391(b), (c) and (d), because one or more

Defendants resided or transacted business in this District, is licensed to do business or is doing

business in this District, and because a substantial portion of the affected interstate commerce

described herein was carried out in this District.

       11.     This Court has personal jurisdiction over each Defendant because, inter alia, each

Defendant: (a) transacted business throughout the United States, including in this District; (b)

manufactured, sold, shipped, and/or delivered substantial quantities of pork throughout the United

States, including this District; (c) had substantial contacts with the United States, including this

District; and/or (d) engaged in an antitrust conspiracy that was directed at and had a direct,

foreseeable, and intended effect of causing injury to the business or property of persons residing

in, located in, or doing business throughout the United States, including this District.

       12.     The activities of the Defendants and all co-conspirators, as described herein, were

within the flow of, were intended to, and did have direct, substantial and reasonably foreseeable

effects on the interstate commerce of the United States.




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          13.    No other forum would be more convenient for the parties and witnesses to litigate

this case.

III.      PARTIES

A. Plaintiff

          14.    Plaintiff PJ Food Service, Inc. (“Plaintiff”) brings this action under the federal

antitrust laws against the Defendants identified below. Plaintiff is a Kentucky corporation with its

principal place of business in Louisville, Kentucky. During the relevant period, Plaintiff purchased

pork at artificially inflated prices directly from one or more Defendants, and their affiliates and

co-conspirators, and suffered injury to its business or property as a direct or proximate result of

Defendants’ wrongful conduct. Plaintiff has therefore suffered antitrust injury as a direct result of

the antitrust violations alleged in this Complaint.

B. Defendants

(i)       Agri Stats

          15.    Agri Stats, Inc. is an Indiana corporation located in Fort Wayne, Indiana and is a

former subsidiary of Eli Lilly & Co. Throughout the relevant period, Agri Stats acted as a co-

conspirator and committed acts in furtherance of the conspiracy by facilitating the exchange of

confidential, proprietary, and competitively sensitive data among Defendants and their co-

conspirators.

(ii)      Clemens

          16.    Clemens Food Group, LLC is a limited-liability company headquartered in

Hatfield, Pennsylvania.     During the relevant period, Clemens Food Group, LLC and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in the United

States.


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         17.   The Clemens Family Corporation is a Pennsylvania corporation headquartered in

Hatfield, Pennsylvania, and the parent company of Clemens Food Group, LLC. During the

relevant period, The Clemens Family Corporation and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates sold pork in interstate commerce, directly or through its wholly

owned or controlled affiliates, to purchasers in the United States.

(iii)    Hormel

         18.   Hormel Foods Corporation is a Delaware corporation headquartered in Austin,

Minnesota. During the relevant period, Hormel Foods Corporation and/or its predecessors, wholly

owned or controlled subsidiaries, or affiliates, including but not limited to Hormel Foods, LLC

sold pork in interstate commerce, directly or through its wholly owned or controlled affiliates, to

purchasers in the United States.

         19.   Hormel Foods, LLC is a Minnesota corporation headquartered in Austin,

Minnesota. Hormel Foods, LLC is a wholly owned subsidiary of Defendant Hormel Foods

Corporation. During the relevant period, Hormel Foods Corporation and/or its predecessors,

wholly owned or controlled subsidiaries, or affiliates sold pork in interstate commerce, directly or

through its wholly owned or controlled affiliates, to purchasers in the United States.

(iv)     JBS

         20.   JBS USA Food Company is one of the world’s largest beef and pork processing

companies and a wholly owned subsidiary of JBS USA Food Company Holdings, which holds a

78.5 percent controlling interest in Pilgrim’s Pride Corporation, one of the largest chicken-

producing companies in the world.         JBS USA Food Company is a Delaware corporation,

headquartered in Greeley, Colorado. During the relevant period, JBS USA Food Company and/or

its predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate




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commerce, directly or through its wholly owned or controlled affiliates, to purchasers in the United

States.

(v)       Seaboard

          21.    Seaboard Foods LLC is a limited-liability company headquartered in Shawnee

Mission, Kansas, and is a wholly owned subsidiary of Seaboard Corporation. During the relevant

period, Seaboard Foods LLC and/or its predecessors, wholly owned or controlled subsidiaries, or

including without limitation Daily Foods, Inc., John R. Daily, Inc., and any other subsidiary doing

business as Daily’s Premium Meats and/or Daily’s through July 10, 2014, or affiliates, including

Daily’s Premium Meats and Seaboard Triumph Foods, LLC, sold pork in interstate commerce,

directly or through its wholly owned or controlled affiliates, to purchasers in the United States.

(vi)      Smithfield

          22.    Smithfield Foods, Inc. is incorporated in the Commonwealth of Virginia, and an

indirect wholly owned subsidiary of WH Group Limited, a Chinese company. Smithfield Foods

is headquartered in Smithfield, Virginia. During the relevant period, Smithfield Foods, Inc. and/or

its predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in the United

States.

(vii)     Triumph

          23.    Triumph Foods, LLC is a limited-liability company headquartered in St. Joseph,

Missouri. During the relevant period, Triumph Foods, LLC and/or its predecessors, wholly owned

or controlled subsidiaries, or affiliates sold pork in interstate commerce, directly or through its

wholly owned or controlled affiliates, to purchasers in the United States.




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(viii) Tyson

       24.     Tyson Foods, Inc. is a publicly traded Delaware corporation headquartered in

Springdale, Arkansas. During the relevant period, Tyson Foods, Inc. and/or its predecessors,

wholly owned or controlled subsidiaries, or affiliates sold pork in interstate commerce, directly or

through its wholly owned or controlled affiliates, to purchasers in the United States.

       25.     Tyson Prepared Foods, Inc. is a Delaware corporation headquartered in Springdale,

Arkansas and is a wholly-owned subsidiary of Tyson Foods, Inc. During the relevant period,

Tyson Prepared Foods, Inc. sold pork in interstate commerce, directly or through its wholly owned

or controlled affiliates, to purchasers in the United States.

       26.     Tyson Fresh Meats, Inc. is a Delaware corporation headquartered in Springdale,

Arkansas and is a wholly owned subsidiary of Tyson Foods, Inc. During the relevant period,

Tyson Fresh Meats, Inc. sold pork in interstate commerce, directly or through its wholly owned or

controlled affiliates, to purchasers in the United States.

C. Co-Conspirators

       27.     Other entities and individuals not named as Defendants in this Complaint,

including, without limitation, Indiana Packers Corporation (“Indiana Packers”), Daily’s Premium

Meats, LLC (“Daily’s”) and Seaboard Triumph Food, LLC (“SFT”), combined, conspired, or

agreed with Defendants and committed acts in furtherance of the unlawful conspiracy alleged in

this Complaint.

       28.     Various other persons, firms, and corporations not named as defendants have

performed acts and made statements in furtherance of the conspiracy. Defendants are jointly and

severally liable for the acts of their co-conspirators whether or not named as defendants in this

Complaint. Throughout this Complaint, Indiana Packers Corporation, Daily’s Premium Meats,

Seaboard Triumph Foods, and the other persons, firms, and corporations not named as defendants


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that performed acts and made statements in furtherance of the conspiracy are collectively referred

to as “Co-Conspirators.”

IV.     FACTUAL ALLEGATIONS

        29.    Starting at least as early as January 1, 2009 and continuing to the present,

Defendants coordinated to fix, raise, maintain and stabilize pork prices. To implement and enforce

their anticompetitive agreement, Defendants relied on a unique industry data sharing service

known as Agri Stats, through which Defendants shared and monitored critical, competitively

sensitive business information regarding each other’s production metrics, serving a critical role in

Defendants’ price-fixing scheme, and resulting in a stable, successful anticompetitive cartel.

A. Agri Stats’ central role in collusion in the Broiler industry.

        30.    Agri Stats has played a central role in collusion in other industries, including

involvement in the Broiler chicken industry. As alleged in the In re Broiler Chicken Antitrust

Litigation, No. 16-cv-08637 (N.D. Ill.), the Broiler producers used Agri Stats to implement their

conspiracy to restrain production and inflate prices.

        31.    In the Broiler industry, Agri Stats collected and disseminated to the other members

of the conspiracy disaggregated financial information (such as monthly operating profit, sales and

cost per live pound), production volumes, capacity, slaughter information, inventory levels, and

sales data by finished product form and type, amongst other competitively sensitive business

information. Agri Stats reports contain line-by-line entries for plants, lines, and yields of various

Broiler facilities. Agri Stats relied upon (and the co-conspirators agreed to) a detailed audit process

to verify the accuracy of data from each Broiler producer’s facilities, sometimes directly contacting

co-conspirators to verify the data. Agri Stats also provided detailed price reports to the Broiler

industry through its subsidiary, Express Markets, Inc., also known as EMI. Agri Stats collected




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data from the Broiler producers weekly and provided its reports to Broiler producers weekly and

monthly.

       32.     The detail of these reports ensured that the Broiler chicken producers could quickly

decode the information of their purported competitors. It was common knowledge that the detail

of the Agri Stats reports allowed any reasonably informed producer to discern the identity of the

competitors’ individual broiler complexes and facilities. The Broiler reports, in parts, contained so

few producers participating that the identities were obvious. Other reports contained such detailed

data that it could be matched with the publicly stated aggregate data for larger Broiler co-

conspirators such as Tyson. Agri Stats purposefully circulated this information to top executives to

facilitate their agreement on supply constraints and price.

       33.     In the Broiler industry, Agri Stats—known to its co-conspirators as a willing

conduit for illicit information exchanges—conveyed information to the Broiler Chicken co-

conspirators that furthered the conspiracy’s purposes by reassuring them that production cuts

would continue, and inducing the Broiler Chicken co-conspirators to continue to act in concert to

ensure that the cuts continued. Agri Stats’ statements in the Broiler industry facilitated the

implementation of the agreement to restrict supply.

       34.     When it denied motions to dismiss in In re Broiler Chicken Antitrust Litigation, the

district court noted that given the nature of the Agri Stats reports, the co-conspirators were sharing

future anticipated production information, which raises significant antitrust concerns.4




4
  Memorandum Opinion and Order at 11, In re Broiler Chicken Antitrust Litigation, No. 16-cv-08637 (N.D.
Ill. Nov. 20, 2017), ECF No. 541.



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B. Agri Stats markets its collusive scheme to Defendants.

        35.     Beginning in at least 2008, Agri Stats began to propose a series of benchmarks to

Defendants similar to the benchmarks used to restrain competition in the Broiler industry.

Benchmarking is the act of comparing practices, methods or performance against those of other

companies.5 Benchmarking of the type undertaken by Agri Stats and its co-conspirators reduces

strategic uncertainty in the market and changes the incentives for competitors to compete, thereby

enabling companies to coordinate their market strategies and otherwise restrict competition. This

is especially true where benchmarking involves the exchange of commercially sensitive, and

typically proprietary information among competitors.

        36.     In 2008, Greg Bilbrey of Agri Stats wrote in the Advances in Pork Production

Journal that “Benchmarking in the swine industry could range from simple production

comparisons to elaborate and sophisticated total production and financial comparisons. Each and

every commercial swine operation is encouraged to participate in some benchmarking effort.”6

        37.     Agri Stats emphasized to pork producers that the goal of the agreement to share

information was profitability, not production, and invited them again to participate in the

benchmarking. “We must remember that the ultimate goal is increasing profitability – not always

increasing the level of production.” Finally, Agri Stats told the industry that “[e]ach swine

production company should be participating in some type of benchmarking. To gain maximum




5
  Antitrust Issues Related to Benchmarking and Other Information Exchanges, Federal Trade Commission
(May 3, 2011), available at https://www.ftc.gov/sites/default/files/documents/public_statements/antitrust-
issues-related-benchmarking-and-other-information-exchanges/110503roschbenchmarking.pdf              (last
visited December 5, 2019).
6
  Greg Bilbrey, Benchmarking and Cost – Production Relationships, 19 Advances in Pork Production
Journal, 43 (2008).



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benefit, production, cost and financial performance should all be part of the benchmarking

program.”7

       38.       In April 2009, Agri Stats again invited swine producers to design and operate their own

benchmarking effort. Thus, Greg Bilbrey of Agri Stats wrote: “Though all producers may not be

part of or fit into an Agri Stats type benchmarking program, all producers could participate in

benchmarking in some way. Commercial benchmarking opportunities are available. Producer

groups could design and operate their own benchmarking effort.”8 Defendants accepted this offer

and, beginning no later than 2009, created the detailed benchmarking scheme based upon and

found in the Agri Stats reports. Their agreement was to use the exchanged benchmarking

information to coordinate supply and stabilize as well as increase prices of pork sold in the United

States, provide and receive information from Agri Stats, and use this detailed sensitive information

to monitor each other’s production and pricing. The agreement was successful as pork prices rose

significantly after the agreement was reached.

       39.       Each and every Defendant identified specific executives that were responsible for

transmitting data to and from Agri Stats relating to pork pricing, supply, slaughter, inventory,

export, or production levels.

                   Clemens: Joshua Rennels (Treasurer, Clemens Food Group)

                   Hormel: Paul Bogle (Director, Cost Accounting)

                   JBS: Garry Albright (Head of Business Analysis), Kevin Arnold (Head of
                    Finance), Jamie Fosbery (Analyst), Raven Goodlow (Business Analyst),
                    Robbie Kearns (Business Analyst), Lisa Peters (Business Analyst), Eli Zoske
                    (Cost Accountant)




7
 Id. at 41-46.
8
 Greg Bilbrey, Benchmarking and Tools to Maximize Profit, London Swine Conference – Tools of the
Trade (April 1-2, 2009) (emphasis added).


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                   Seaboard: Damon Ginther (Senior Director of Business Data & Analytics), Mel
                    Davis (VP of Hog Procurement and Bio-Energy), Tom Dye (Operations
                    Controller)

                   Smithfield: Aimee Ward (Director, Hog Finance), Kent Hilbrands (Sr. Director,
                    Operations Finance), Elizabeth Barger (Data Analyst)

                   Triumph: Matt England (Chief Integrated Business Strategy Officer), Ken
                    Grannas (Director Inventory/Reporting), Tom French (Director, Margin
                    Management), Joe Diebold (Chief Financial Officer), Dan Marlow (Corporate
                    Controller)

                   Tyson: Deb McConnell (Division Controller)

       40.       The volume of U.S. commerce in the pork industry is enormous. Total pork sales

in the United States for a portion of the relevant period were:

                 2016 - $18.9 billion
                 2015 - $21.0 billion
                 2014 - $26.4 billion
                 2013 - $23.4 billion

       41.       Each Defendant’s annual sales of pork products are also very large. For example,

in 2016 Smithfield reported $3.7 billion of fresh pork sales, and an additional $5 billion in

packaged pork product sales. That same year, Tyson reported $4.9 billion in pork sales. With such

enormous revenues, the ability to stabilize or increase the margin even in small amounts has an

enormous impact on profits.

C. Agri Stats provided Defendants the unique ability to monitor pricing and production
   and discipline co-conspirators that did not comply with the anticompetitive agreement.

       42.       Agri Stats provided Defendants with an unparalleled ability to share critical,

proprietary and commercially sensitive information concerning key business metrics, such as

production levels and short and long-term production capacity. Agri Stats was central and critical

to the formation, operation and continuing stability of the Defendants’ anticompetitive scheme. To

effectuate their agreement, Defendants had to ensure that each member was following through with

the agreement by limiting their production and stabilizing prices. Agri Stats served that function.


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       43.     Each member of the conspiracy, including Defendants Clemens, Hormel, JBS

USA, Seaboard, Smithfield, Triumph, and Tyson, and other pork producers, such as Indiana

Packers Corporation, was an Agri Stats subscriber and reported its information to Agri Stats. Agri

Stats’ former parent company, Eli Lilly, stated that “over 90% of the poultry and pig market” uses

Agri Stats in the United States.9

       44.     Agri Stats collects commercially sensitive financial and production data

electronically each month from each Defendant. Internal auditors convert the data, prepare it for

comparison, and perform the monthly audits. Each company’s financial data is reconciled to their

general ledger to help ensure actual costs are reported. Raw data are used in Agri Stats’

standardized calculations so all company numbers are calculated and reported the same way.10

       45.     Unlike traditional “benchmark” services which rely upon unaudited and aggregated

publicly available data, Agri Stats obtains audited data directly from the participating producers.

       46.     Participants in the scheme (including Defendants) received monthly detailed

reports and graphs that allow them to compare their performance and costs to other participants,

the average of all companies, the top 25 percent and the top five companies. Current month,

previous quarter and previous twelve-month periods are reported. As of 2009, each monthly report

contained nine sections for analysis and comparison: Performance Summary, Feed Mill, Ingredient

Purchasing, Weaned Pig Production, Nursery, Finishing, Wean-to-Finish, Market Haul, Profit and

Sales.11 Participants may also have received an abbreviated Key Performance Indicator report, as

well as historical graphs.12



9
  Transcript, Eli Lilly and Co. at Morgan Stanley Global Healthcare Conference (Sept. 13, 2016).
10
   Greg Bilbrey, Implementing Simple and Useful Production Benchmarking, London Swine Conference –
A Time for Change (March 28-29, 2012).
11
   Greg Bilbrey, Benchmarking and Tools to Maximize Profit, supra note 8.
12
   Greg Bilbrey, Benchmarking and Cost-Production Relationships, supra note 6.


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          47.     Due to a hog’s life and production cycle, even current and historical information

regarding hog production numbers provides forward-looking supply information to competitors.

The typical hog production cycle lasts about 4 years, in large part due to a hog’s biological cycle.

Given the length of time needed to breed an existing sow, choose and retain offspring for breeding,

and raise the resulting crop of piglets, it takes nearly 2 years to substantially increase production.

          48.     One presentation from Agri Stats shows the level of detail provided to Defendants

regarding profits in the pork market:13




          49.     The purpose of these reports was not to provide better prices to customers or to

lower the costs of production. Instead, it was to improve Defendants’ profitability by enabling

them to restrict output and raise prices. The Agri Stats report referenced above shows the ranking


13
     Greg Bilbrey, Key Drivers to Farm Profitability (2011).



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of each company in profitability, and compares the company to its competitors by providing the

variance from the average. On information and belief, the Agri Stats report actually circulated to

competitors contained even more detail. The same presentation informed Defendants that one of

the “Advantages for Top 25% in Profit” was the “Sales Price: $2 - $6/ckg.” (“ckg” refers to 100

kilograms.) This underscores that the purpose of these reports was not to allow customers to save

more money through lower prices and more efficient production—in fact, the opposite was true;

the purpose was Defendants’ profitability and the result was higher prices for pork customers.

       50.     Much of the information shared by Defendants through Agri Stats was not

necessary to achieve any benefits for customers. Exchanging individual company data (particularly

current data on prices and costs) is not required to achieve major efficiencies.14 In fact, in a truly

competitive market, the participants would closely protect such proprietary information from

disclosure as providing it to competitors would be disadvantageous: unless, of course, there is an

agreement that the competitors will use the information to the joint benefit of each other as was

the situation in the pork industry.

       51.     Agri Stats knew that it played a central role in this conspiracy. Agri Stats repeatedly

touted its role in standardizing the costs across companies—allowing the companies to compare

the “apples to apples” of its data analysis among competitors. In one presentation, Agri Stats

pointed out to industry participants that they could not undertake such a detailed cost analysis

among competitors without Agri Stats auditing and standardizing the data:15



14
    FTC Roundtable on Information Exchanges Between Competitors Under Competition Law
Organization for Economic Cooperation and Development, (Oct. 21, 2010) at 6, available at
https://www.ftc.gov/sites/default/files/attachments/us-submissions-oecd-and-other-international-
competition-fora/1010informationexchanges.pdf (last visited December 5, 2019).
15
   Greg Bilbrey,Data Integrity,            Slideshare.net (Sept. 21,     2015), available at
https://www.slideshare.net/trufflemedia/greg-bilbrey-data-integrity-using-records-for-benchmarking-and-
operations (last visited December 5, 2019).


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          52.     Agri Stats stated that to ensure the accuracy of data contained in the reports, the

participants had to “agree on calculation and data collection procedures,” they must “[d]etermine

tolerance and outlier status and enforce,” they must “[h]ave an administrator to compile the data

and enforce procedures,” and most importantly, “[e]ach participant has to commit.”16

          53.     In addition to these reports, Agri Stats’ account managers conducted on-site live

reviews to assist with report utilization and analysis.17 The information provided by Agri Stats

was so detailed that clients frequently requested the site visits by Agri Stats employees to assist

the co-conspirators in understanding the intricacies and implications of the data. Agri Stats’

employees each possessed expertise in a specific area of production, and the value added by their

insights was as important to the producers as the data in the reports. The fee for the visits fluctuated

based on the size and other factors.




16
     Id.
17
     Greg Bilbrey, Benchmarking and Tools to Maximize Profit, supra note 8.


                                                    17
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       54.     A common saying by Agri Stats is “you cannot produce your way to the top of the

page.” Rather, Agri Stats has stated that “the ultimate goal is increasing profitability – not simply

increasing level of production.”

       55.     In May 2015, a subsidiary of Agri Stats, Express Markets, announced that it was

adding its market analysis of pork to its product offerings in order to meet the broad information

and knowledge needs of its customers. Express Markets had provided its extensive pricing reports

to Broiler producers since 2003.18

       56.     By providing detailed production statistics by participants, Agri Stats allowed each

member of the conspiracy to monitor each other’s ongoing adherence to agreed-upon plans for

coordinated production limits. Critically, Agri Stats provided forward-looking data that allowed

the other Defendants to determine each other’s future production in addition to their current

production.

       57.     Agri Stats reports are organized by company and facility, but their names are not

listed in the reports. Nevertheless, while ostensibly anonymous, the reports contain such detailed

figures covering every aspect of pork production and sales that participants can accurately identify

the companies behind the metrics. For example, long-time industry insiders are sufficiently

familiar with each other to identify unique but recurring data points for other companies, as well

as identify the other companies by general metrics and size.

       58.     Moreover, Agri Stats knew that the anonymity of its system was compromised by

individuals who had gleaned knowledge of competitors’ identification numbers, but reassigning

numbers was an undertaking the company was not eager to embark on.



18
   Steve Meyer, Paragon Economics Sold to Express Markets, National Hog Farmer, May 26, 2015,
available at https://www.nationalhogfarmer.com/marketing/paragon-economics-sold-express-markets
(last visited December 5, 2019).


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        59.    Suppliers received as many as one dozen books of data at the end of each quarter,

augmented by smaller monthly update books featuring the latest year-to-date information. Within

these smaller monthly books, each supplier’s own rows of year-to-date numbers were highlighted.

In the front of each book, there were also markings indicating whose numbers were inside the

book. The front of the book also included information indicating which other companies were

represented in the data, though which number represented each competitor was not revealed.

        60.    Agri Stats mailed the reports to customers. On occasion, Agri Stats shipped a

participant’s book to one of its competitors. At times, suppliers just kept their competitors’ books

for future reference, which, as noted above, revealed the identity of that participant, given that

their numbers were highlighted by Agri Stats in their books.

        61.    Mobility within the meat production industries led to a situation where many

workers at most pork integrator operations knew the numbers of other regional facilities, removing

any anonymization of the data which existed. Agri Stats would hire industry participants to work

in its offices, and then they would return to the industry knowing each of the allegedly

“anonymous” numbers. Those working at Agri Stats were aware of this fact but did nothing to

address it.

        62.    Agri Stats’ critical importance for a collusive scheme in the pork industry lies not

only in the fact that it supplies the data necessary to coordinate production limitations and

manipulate prices, but also in its stabilizing power. Price-fixing cartels are subject to inherent

instability in the absence of policing mechanisms, as each individual member of the cartel may

have incentive to cheat on other members of the cartel, for example, by ramping up pork production

to capture higher prices as other cartel members act to limit production. Agri Stats’ detailed

production statistics serve as an indispensable monitoring function, allowing each member of the




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cartel to police each other’s production figures (which were trustworthy because they had been

verified) for signs of cheating.

       63.     In a February 15, 2017 Bloomberg article relating to Agri Stats’ roles in the Broiler

industry, it was reported:

               Peter Carstensen, a law professor at the University of Wisconsin and
               former Justice Department antitrust lawyer who has studied Agri
               Stats while researching the modern poultry industry, casts the level
               of plant-by-plant detail in the company’s reports as “unusual.” He
               explains that information-sharing services in other industries tend to
               deal in averaged-out aggregated data—for example, insurance rates
               in a given state. Such services run afoul of antitrust law, he says,
               when they offer projections or provide data so detailed that no
               competitor would reasonably share it with another. Getting detailed
               information is a particularly useful form of collusion, Carstensen
               says, because it allows co-conspirators to make sure they’re all
               following through on the agreement. “This is one of the ways you
               do it. You make sure that your co-conspirators have the kind of
               information that gives them confidence—so they can trust you, that
               you’re not cheating on them,” he says. “That is what creates
               stability for a cartel.”19

D. Defendants controlled the supply and production of pork in the United States, which
   allowed the scheme to succeed.

       64.     The relevant period was further characterized by the increased control over the

breeding, production, growing, and processing of pork by the Defendants through vertical

integration (pork packers have tight contractual relationships with hog producers throughout all

stages of production) and the exclusive production contracts with hog farmers.

       65.     Vertical integration is so pervasive that Defendants are commonly called pork or

swine integrators by the industry, government, analysts, and academics. Vertical integration

allows the integrator Defendants to directly control the production and supply of pork through their



19
   Christopher Leonard, Is the Chicken Industry Rigged, Bloomberg (Feb. 15, 2017), available at
https://www.bloomberg.com/news/features/2017-02-15/is-the-chicken-industry-rigged (emphasis added)
(last visited December 5, 2019).


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wholly owned and operated farms where the hogs are raised, fed, and prepared for slaughter. Fully

integrated companies have broad control over production processes and near-total operational

discretion in deciding how much to produce and when.

       66.     Under pork production contracts, “a contractor or integrator provides pigs or

breeding stock, feed, and other services to a producer or grower who manages the hogs at his or

her farm until animals are ready for market or transfer to other farms.” 20 This arrangement

essentially converts independent farmers into contract employees who perform services for the

pork integrator. The Defendants typically pay only fixed service fees to the farmers, who bear the

investment costs of the hog-raising facilities. The pork integrators (i.e., Defendants) typically

retain ownership of the hogs and set the terms for how they are raised, allowing them to further

control the supply of the pork on the market. The prevalence and use of contracts for hog

production by Defendants increased significantly during the course of the conspiracy. By 2017 it

was reported that there were only a small handful of independent producers who sell any hogs to

the open market for transparency as far as bid prices.

       67.     Pork production generally starts at the farrowing stage—which is the term used to

describe a female hog giving birth. Female hogs used in the farrowing stage are called sows. Sows

will normally have anywhere from 11 to 13 pigs per litter. With a sow typically being able to

farrow up to three times a year, one sow can have around 36 piglets in one year. After birth, piglets

grown for meat consumption are moved to a nursery for about six to eight weeks or until the pig

weighs upwards of 50 pounds. At the last stage of production, the pigs will spend around 16 weeks

in a finishing barn, reaching a final weight of over 250 pounds. After the pigs reach their final

weight, they are sent to a packing plant to be harvested. Because of the nature of the pork


20
  Allen Harper, Hog Production Contracts: The Grower-Integrator Relationship, Virginia Cooperative,
Virginia Cooperative Extension (2009).


                                                 21
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production cycle, the reduction of sows—i.e., farrowing hogs—has a significant impact on the

supply of pork.

         68.   The following diagram shows the path for pork raised for meat consumption from

birth through sale to consumers:

                       Figure 1: Value Chain of U.S. Pork Market




         69.   Vertical integration can have anticompetitive effects because there are fewer firms

competing at all levels, which renders it easier to collude on price. The following table lists

Defendants that have significant operations (>=5% market share in multiple stages of the supply

chain:




                                               22
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                                                   Hog processing and
                                                                            Further Pork
          Defendant         Hog Production         intermediate pork
                                                                             Processing
                                                   processing/packing
          Smithfield                                                           

          Tyson                                                                 

          Triumph                                         

          Seaboard                                        

          Hormel                                                                

       70.     During the relevant period Defendant Smithfield has the distinction of being the

largest producer and processer of pork in the United States. In 2014, Smithfield had approximately

500 company-owned farms and approximately 2,190 contract farms in the United States.

Smithfield described its arrangement with contract farms as follows:

               Under our contract farm arrangements, contract farmers provide the
               initial facility investment, labor and frontline management in
               exchange for fixed service fees to raise hogs produced from our
               breeding stock under agreements typically ranging between five and
               ten years. We retain ownership of the hogs raised by our contract
               farmers. In 2014, approximately 76% of Smithfield’s hogs
               produced in the U.S. were finished on contract farms.21

       71.     In 2009, Seaboard raised approximately 75% of the hogs processed at its Guymon,

Oklahoma plant with the remaining hog requirements purchased primarily under contracts from

independent producers.22 In its 2017 SEC 10-K report, Seaboard Corporation states that it raises

“over five million hogs annually primarily at facilities owned by Seaboard or at facilities owned

and operated by third parties with whom Seaboard has grower contracts.”23




21
   Smithfield Foods Annual Report, at p. 27 (2014).
22
   Seaboard Corporation Annual Report, at p. 11 (2009)
23
   Seaboard Corporation Annual Report, at p. 2 (2017).



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       72.     Defendant Clemens Food Group touts its vertical coordination on its website stating

that, “Our vertically-coordinated company directly oversees the entire production chain, from the

farm all the way to our retail and foodservice customers.”24 A key part of Clemens’ vertical

coordination efforts includes utilizing a hog procurement and production subsidiary, Country View

Family Farms, which manages a network of 250 farms raising hogs under contract throughout

Indiana, New York, Ohio, and Pennsylvania.25

       73.     As JBS stated in its 2014 annual report, “The meat production of JBS Foods is

vertically integrated, whereby the company produces 100% of its poultry supply and 95% of its

pork supply. This provides it with greater control over the health and nutrition conditions of the

animals, insuring quality, food safety and efficiency in the production and cost of its products.”

Furthermore, a key aspect of JBS’s purchase of its predecessor in interest, Cargill, in 2015 was

that it allowed JBS to exercise greater control over the production of hogs, by acquiring four hog

farms and two packing plants operated by Cargill.

       74.     Triumph was created with vertical integration in mind as it is owned by five of the

largest pork producers in the U.S.— Christiansen Farms, The Hanor Company, New Fashion Pork,

TriOak Foods, and Eichelberger Farms—as well as Allied Producer’s Cooperative, a group of

producers in Iowa, Nebraska, Kansas, and Minnesota. The relationship with these owner producers

allows Triumph to control the pork production process from start to finish.

       75.     As Defendant Tyson stated in its 2009 10K Report, “The majority of our live hog

supply is obtained through various procurement relationships with independent producers.” As set

forth above, these procurement contracts are controlled and dictated by Tyson which exercises


24
   See Clemens Food Group, Vertically Integrated Purposefully Coordinated, available at
http://www.clemensfoodgroup.com/our-company/vertically-coordinated (last visited December 5, 2019).
25
   See id.; see also The Clemens Family Corporation Companies, available at
http://www.clemensfamilycorp.com/pages/companies.aspx (last visited December 5, 2019).


                                                24
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tremendous market power over hog formers. Additionally, Tyson raises a number of weanling

swine to sell to independent finishers and supply live swine for its processing needs.

       76.     Hormel is a vertically integrated company with control over live hog operations as

well as pork processing and production facilities. As Hormel stated in its 2009 annual report that,

“[t]he live hog industry has evolved to very large, vertically integrated, year-round confinement

operations operating under long-term supply agreements.” Accordingly, Hormel “uses long-term

supply contracts to ensure a stable supply of raw materials while minimizing extreme fluctuations

in costs over the long term” accounting for 93% of the hogs purchased by Hormel in 2009.

       77.     Each of the Defendants further controls the manner in which the pork is processed

and has the ability to restrict and reduce supply through a number of means including capacity

reductions, controlling slaughter rates, and exports. Defendants including Smithfield, Clemens,

Tyson, and Hormel, Seaboard, Triumph, and JBS sell packaged pork under various name brands.

E. The level of concentration in the pork industry was optimal for Defendants’ collusive
   scheme.

       78.     The United States Department of Agriculture (“USDA”) has stated that high levels

of market concentration allow the largest participants to extract more of the economic value from

food transactions, but “consumers typically bear the burden, paying higher prices for goods of

lower quality.”26

       79.     The hog integration sector is horizontally concentrated (only a few companies buy,

slaughter, and process the majority of hogs) and vertically integrated, as was discussed in the

previous section. Meatpacking concentration levels are among the highest of any industry in the




26
  John King (USDA), Concentration and Technology in Agricultural Input Industries, at p. 2 (Mar.
2001).


                                                 25
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United States and well above levels generally considered to elicit non-competitive behavior and

result in adverse economic performance.

       80.     Prior to and in the beginning of the relevant period, the pork industry underwent a

period of unprecedented concentration, resulting in a small number of pork integrators controlling

a large amount of market share. Between 1988 and 2015, the top four pork integrators (Smithfield,

Tyson, JBS, and Hormel) increased their market share from 34 percent in 1988 to just under 70

percent by 2015. As shown in Figure 2 below, the top eight integrators had market share of well

over 80 percent for the entire relevant period:

                Figure 2: Market Share of Top 8 Pork Integrators 1991-2017




       81.     In July 2015, JBS USA announced it would acquire Cargill’s pork business for

$1.45 billion. The acquisition joined the third and fourth largest pork packing companies to



                                                  26
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surpass Tyson and became the second largest hog processor in the United States, behind only

Smithfield. As noted above, the acquisition allowed JBS to exercise greater control over the

production of pork, by acquiring four hog farms and two packing plants operated by Cargill.

          82.     The acquisition was completed in October 2015 and resulted in further

consolidation in the industry.         The resulting pork business had pro forma net revenue of

approximately $6.3 billion, and a processing capacity of about 90,000 hogs per day and two million

pounds of bacon per week.27 After the acquisition closed, the new JBS-Cargill entity was twice

as large as the next largest pork integrator (Hormel) and four times larger than the fifth and sixth

largest firms (Triumph and Seaboard, each with under five percent of the national slaughter

capacity).28

          83.     The following timeline summarizes notable mergers between pork integrators since

1995 which led to an increased market concentration:

                            Figure 3: History of Mergers and Acquisitions




          84.     As shown in Figure 4 below, by 2016, the top six pork processors comprised 82%

of the total market. On their own, it would be difficult for any of these supposed competitors to

exercise market power. But acting as a whole to manipulate the price of pork products, the




27
     See NOTICE TO MARKET: JBS Concludes Cargill Pork Acquisition (Oct. 30, 2015).
28
     Anticompetitive Impacts of Proposed JBS-Cargill Pork Acquisition (White Paper), at p. 4.



                                                     27
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combined market share of the six largest Defendants translates into an HHI29 of 6724 (ignoring

other pork processors that comprise the other 18% of the market), which is well above the threshold

for highly-concentrated markets. In other words, if Defendants colluded with one another to restrict

the supply of pork in the market, as alleged herein, the resulting market concentration of such

concerted action gave them more than sufficient power to control the pork market. Even without

combining the largest six Defendants, the pork industry has a “moderately concentrated” HHI of

1532.

                        Figure 4: 2016 Pork Processing Market Shares30




        85.    This HHI value exceeds the concentration levels for similar industries, as

demonstrated in the following chart:

                                      Industry                          HHI (value)

                                  Pork processing                            1,532

                         Animal (except poultry) slaughtering                1,085

                              Meat processed from carcasses                   332

29
   “HHI” means the Herfindahl-Hirschman Index, a measure of market concentration used by the
Department of Justice. See https://www.justice.gov/atr/herfindahl-hirschman-index. An HHI value of
1,500 to 2,500 suggests a market is moderately concentrated. An HHI in excess of 2,500 points suggests a
market is highly concentrated.
30
   Ken Sullivan, Globalization of Agriculture: An Ownership and Market Perspective (Mar. 7, 2017).


                                                  28
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                     Rendering and meat byproduct processing                673

                    All other miscellaneous food manufacturing              284

       86.     The concentration level in the pork integration industry was optimal for collusion.

WH Group Limited, the parent company of Smithfield, characterized the U.S. pork integration

industry as “relatively mature and concentrated.” 31        Both of these factors—maturity and

concentration—make an industry more susceptible to collusion.

       87.     The level of concentration in the pork integration industry therefore rested in an

ideal zone for collusion. Because the industry was dominated by a handful of integrators, it was

feasible to manipulate price through an agreement among the relatively few dominant players,

whose market power greatly simplified the organizational complexity of the price-fixing

agreement. Further, because the largest integrators were incapable of independently controlling

prices on their own, such an agreement was necessary to inflate prices.

       88.     Concentration of the industry is also beneficial to the procurement of hogs by the

pork processors. In some regions, consolidation has resulted in cases where only one pork

processor is left to buy hogs from independent farmers, leaving the farmers with no leverage when

negotiating terms with the pork processors.32

       89.     In addition to market concentration, market stability is consistent with an agreement

to fix prices, as is greater instability before or after a conspiracy. The following chart shows not

only that the Defendants’ collective share of the market was high throughout the relevant period,

but also that each individual Defendant’s market share was largely stable throughout:


31
  WH Group Interim Report, at p. 5 (2017).
32
  Timothy A. Wise and Sarah E. Trist, Buyer Power in U.S. Hog Markets: A Critical Review of the
Literature, Global Development and Environment Institute, Working Paper No. 10-04 (Aug. 2010), at pp.
3 and 11.


                                                 29
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                Figure 5: Market Concentration and Market Share Stability –
                       U.S. Market Share by Hog Slaughter Capacity




       90.     The following figure shows that there was a substantial drop in market share

volatility during the relevant period:




                                            30
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            Figure 6: Standard Deviation of Combined Defendant Market Share
          Pre- and Within Relevant Period (referred to as class period in the chart)




       91.     Large barriers to entry kept potential competitors out of the pork integration

industry. New entry into pork processing is costly and time consuming. In order to slaughter and

process hogs on an industrial scale, a slaughtering plant needs to be constructed. The cost to design

and build a 140,000 square foot plant with industry-standing packing equipment and a slaughter

capacity of 2,500 hogs a day is estimated at $33 million. Construction of a large-scale slaughter

facility would therefore take tens if not hundreds of millions of dollars and the additional planning,

design and permitting costs are substantial. In 2012, it cost Cargill $25 million just to expand an




                                                 31
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existing facility. Building a facility from scratch would be considerably more, totaling hundreds

of millions of dollars.33

        92.     The prevalence of contracts in the market for hogs also serves as a barrier to entry.

Most of the hogs produced in the U.S. are sold under a multi-year contract, typically to one of the

Defendants. And in other situations, the processor owns the hog from farrow to finish. Even if a

market entrant were able to outlay capital for the production of a new processing facility, it would

have trouble finding enough hogs to operate that facility profitably.34

F. The inelastic demand for, and homogeneity of, pork products facilitated collusion

        93.     Markets with a highly inelastic demand can help facilitate collusion as

manufacturers have the ability to raise prices without a significant impact on quantity demanded.

Price elasticity of demand (PED) is a measure used to quantify the degree to which quantity

demand for a good or service changes with respect to price.35 A PED value between 0 and -1

indicates there is inelastic demand for the good or service, i.e., a 1 percent increase in price induces

a less than 1 percent decrease in quantity demanded. The average PED estimate for the pork market

was -0.64 – meaning the demand for pork is inelastic.

        94.     Collusion becomes easier for manufacturers of a homogenous product when prices

are the only way in which products can be differentiated from one another. Pork loins, bacon, ribs,



33
   Anticompetitive Impacts of Proposed JBS-Cargill Pork Acquisition (White Paper), at p. 7.
34
   Timothy A. Wise and Sarah E. Trist, Buyer Power in U.S. Hog Markets: A Critical Review of the
Literature, Global Development and Environment Institute, Working Paper No. 10-04 (Aug. 2010), at p.
12.
35
   See, e.g., Jeffrey M. Perloff, Microeconomics with Calculus, 28-31 (2d Ed.); Patrick L. Anderson, et
al., Price Elasticity of Demand (Nov. 13, 1997), available at
https://scholar.harvard.edu/files/alada/files/price_elasticity_of_demand_handout.pdf (last visited
December 5, 1029); Gadi Fibich, Arieh Gavious & Oded Lowengart, The Dynamics of Price Elasticity of
Demand in the Presence of Reference Price Effects, 33 J. Academy Mktg. Science 66-78 (2005),
available at http://www.math.tau.ac.il/~fibich/Manuscripts/elasticity_JAMS.pdf. (last visited December 5,
2019)



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and other pork products are produced on a commercial scale and sold in supermarkets. For

example, as alleged above, pork loin from Tyson and Smithfield is virtually indistinguishable, with

similar nutritional values, branding and packaging. These products are highly substitutable,

making it easier for competing firms to reach an agreement on a common pricing structure.36 The

Pork Checkoff program, administered by the National Pork Board established by Congress, has

stated that “U.S. pork production and pig prices vary in a predictable manner during the calendar

year.”

G. Defendants took advantage of numerous opportunities to collude.

         95.    Defendants are members of several industry trade associations and other forums,

which they used to facilitate their conspiratorial conduct. Pork producers have many annual and

other events through which they can communicate with one another in person, and Defendants’

CEOs and top-level executives regularly attend these events.

         96.    All pork producers and importers in the United States participate in a legislatively-

mandated “Pork Checkoff,” under which they pay an assessment when pigs are sold or pigs are

imported into the United States. The money is used for programs to increase pork sales and

exports, for research, and for producer and consumer education programs; funds cannot be used

for lobbying or to influence government policy. The assessment amount and the amount to be

returned to state pork associations for local programs is set annually by the Pork Act Delegate




36
  See Preventing and Detecting Bid Rigging, Price Fixing, and Market Allocation in Post-Disaster
Rebuilding Projects, The United States Department of Justice, available at
https://www.justice.gov/atr/preventing-and-detecting-bid-rigging-price-fixing-and- market-allocation-
post-disaster-rebuilding (“The more standardized a product is, the easier it is for competing firms to reach
agreement on a common price structure. It is much harder to agree on other forms of competition, such as
design, features, quality, or service.”) (last visited December 5, 2018); Marc Ivaldi et al., The Economics
of Tacit Collusion (March 2003), available at
https://ec.europa.eu/competition/mergers/studies_reports/the_economics_of_tacit_collusion_en.pdf (last
visited December 5, 2019)


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Body, which meets during the National Pork Producers Council’s annual Pork Industry Forum.

States are represented in the Delegate Body in proportion to their level of hog production, and each

state is eligible to elect at least two Delegates. Executives from several integrator Defendants have

served as Pork Act Delegates.

       97.     The Pork Act Delegates also elect a 15-member National Pork Board (“Pork

Board”), whose members are officially appointed by the U.S. Secretary of Agriculture. The Pork

Board works with Pork Checkoff staff to ensure collection and distribution of Pork Checkoff funds.

Pork Board meetings have occurred in conjunction with a number of the important annual trade

association meetings described below, including the National Pork Producers Council Pork

Industry Forum, the National Pork Industry Conference, and the World Pork Expo. Executives

from several integrator Defendants have served as members of the Pork Board. For example, at

least three executives associated with Smithfield Foods (Conley Nelson, Chris Hodges, and

Michael Skahill) have served on the National Pork Board or its staff. Skahill is the Pork Board’s

current Treasurer.

       98.     According to its website, “[t]he National Pork Producers Council [“NPPC”], which

consists of 42 affiliated state associations, is the global voice for the U.S. pork industry, enhancing

opportunities for the success of pork producers and other industry stakeholders by establishing the

pork industry as a consistent and responsible supplier of high-quality pork to domestic and world

markets.” Executives from the pork integrator Defendants have served on the NPPC Board of

Directors during the relevant period, including:

       a.      Cory Bollum of Hormel Foods

       b.      Don Butler of Smithfield Foods/Murphy-Brown LLC

       c.      Chris Hodges of Smithfield Foods, and




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       d.        Todd Neff of Tyson Fresh Meats.

       99.       NPPC conducts its annual business meeting and election of officers and directors

during its “National Pork Industry Forum” typically held in early March each year. NPPC

advertises the National Pork Industry Forum as an opportunity for networking, as well as attending

educational sessions. The event includes a candidate meet and greet, state caucuses, meals and

receptions, and delegate sessions.

       100.      In addition to its annual National Pork Industry Forum, NPPC sponsors many other

programs that have provided ample opportunities for Defendants to meet with each other in person,

including:

                   The annual “World Pork Expo” at the Iowa State Fairgrounds advertised as the
                    “world’s largest pork-specific trade show.” It includes exhibits, seminars
                    (including market outlook presentations), a golf tournament, and pre-show
                    tours of industry-related organizations (including tours of producer farms). The
                    National Pork Board has conducted its annual meeting to elect new officers
                    during the World Pork Expo.

                   Legislative Action conferences each spring and fall in Washington DC.

                   A public policy Leadership Institute, which brings small groups of pork
                    industry representatives together for a “comprehensive” training program
                    “designed to develop future leaders for the pork industry.”

       101.      The National Pork Industry Conference (“NPIC”) has taken place in the Wisconsin

Dells each July since 2010 (and in the Ozarks before that). Descriptions on the conference website

have said that NPIC “is the largest annual conference in the US that is held for the swine industry,”

and has had 750 to “over 900” attendees each year, representing “the Top 150 pork production

systems in North America.” After the 2009 conference, Mark Greenwood, a Senior VP at lender

AgStar, wrote in “Hog Farmer” that the swine industry must reduce sow numbers by at least

300,000 to 500,000 and urged “the larger production systems” to “follow Smithfield’s and Tysons’




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lead on reducing sow numbers.” 37 In July 2010, the Pork Checkoff website noted that pork

producers had responded to lower prices in 2009 “by reducing the size of the national herd” and

“[a]s a result, prices have rebounded.”38 The website for the 2016 NPIC conference emphasized

networking opportunities and promoted the “Focusing on Markets” session “led by industry

economic experts.”      Seaboard and Smithfield are among the integrator Defendants whose

executives have been session presenters at NPIC.

        102.    Upon information and belief, CEOs and top level executives from Defendants

attending NPIC and NPPC events discuss topics with one another relating to pricing, production,

and other non-public, proprietary information in a number of informal settings. These regular,

informal, and in-person opportunities to discuss pricing and production in the pork industry give

CEOs and top level executives comfort that their competitors remain committed to a plan to

artificially restrict pork production.

        103.    In addition to the large pork industry associations, there are smaller pork clubs that

permit members to meet regularly and privately discuss competitive issues. For example, the 21st

Century Pork Club, founded in 1997 by former NPPC executive Larry Graham, meets twice a year.

A March 2011 AgriMarketing article about the club states that it consisted of “60 industry stake

holders” and that since its inception, the club’s two rules have been “nothing that was said in the

meeting was to be repeated outside the group, with a name attached” and members will be

dismissed from the group if they miss two meetings in a row without a valid reason.

        104.    Defendants were able to meet with each other not only at pork-specific events, but

also at the many meetings, conferences, conventions, and expositions sponsored by the North


37
  Mr. Greenwood was also a presenter at the 2018 NPIC, discussing swine operation financials.
38
  See National Pork Board to meet during National Pork Industry Conference, Pork Checkoff (July 8,
2010), available at https://www.pork.org/news/national-pork-board-meet-national-pork-industry-
conference/ (last visited December 5, 2019).


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American Meat Institute (“NAMI”), its predecessor, the American Meat Institute (“AMI”), and

other organizations.

       105.    Until its 2015 merger into NAMI, AMI described itself as “the nation’s oldest and

largest meat and poultry trade association.” AMI’s website routinely boasted that AMI’s Packer

and Processor Members “cover 95 percent of the nation’s beef, pork, lamb and veal products and

70 percent of the nation’s turkey products” and touted the “excellent networking and information-

sharing opportunities for members of the industry” provided by AMI’s “many meetings and

educational seminars.”

       106.    NAMI was formed in 2015 by merging the AMI and the North American Meat

Association. The NAMI website contains similar information, stating that NAMI is “a national

trade association that represents companies that process 95 percent of red meat and 70 percent of

turkey products in the US and their suppliers throughout America,” and its “many meetings and

educational seminars … provide excellent networking and information-sharing opportunities for

members of the industry.”

       107.    All of the Defendants (and/or their affiliates) have been members of AMI and then

NAMI throughout the relevant period. Executives from the pork integrator Defendants have

served on the AMI and NAMI Board of Directors during the relevant period, including:

       a.      Mark Campbell and Rick Hoffman of Triumph Foods;

       b.      Doug Clemens and Phil Clemens of Clemens Family Corporation;

       c.      Tom Hayes, Jim Lochner, Mike Larson, and Sara Lilygren of Tyson Foods, Inc., as
               well as Greg Schweitzer of Sara Lee/Hillshire Brands (later acquired by Tyson
               Foods);

       d.      Michael Skahill, Keira Lombardo, Robert “Bo” Manly, and Larry Pope of
               Smithfield Foods, Inc.;

       e.      Gary Louis, Rod Brenneman, and Terry Holton of Seaboard Foods;



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       f.     Andre Nogueira, Wesley Batista, Martin Dooley, Rich Vesta, and Bill Rupp of JBS
              USA; and

       g.     Jim Snee, Stephen Binder, and Jeffrey Ettinger of Hormel Foods Corporation.

       108.   Almost all of these executives also serve or have served on the 25-person AMI

and/or NAMI Executive Committees, and several have been among the five officers of AMI or

NAMI, including Sara Lilygren, of Tyson Foods, Jeffrey Ettinger of Hormel Foods Corporation,

and Rod Brenneman of Seaboard Foods.

       109.   Throughout the relevant period, AMI (through 2014) or its offshoot the American

Meat Institute Foundation (since 2015) has co-sponsored (with the Food Marketing Institute) the

industry’s “Annual Meat Conference.” The conference website describes the conference as “a

complete education and networking experience.” Many of the Defendants’ high-level executives

attend the conference. For example, registered attendees in 2012 included Steven Binder, then the

Executive VP President Hormel Business Units of Hormel Foods Corporation, as well as eight

other Hormel executives; eight executives from JBS USA; Donnie Smith, then CEO of Tyson

Foods, along with twelve other Tyson executives; Chris Hodges, then Senior Vice President of

Smithfield Foods, and ten additional Smithfield Foods executives; and Blair Snyder and Brian

Snyder, Chairman of the Board and President, respectively, of Agri Stats.

       110.   Throughout the relevant period, the Annual Meat Conference has included a

plenary session focused on how economic issues affect the meat industry, usually entitled “The

Economy and Its Impact on Your Business” or “Market Outlook for Meat and Poultry.” All (or

almost all) of these sessions included a presentation on the pork industry by Steve Meyer, Ph.D.,

President of Paragon Economics until 2015 and then Vice President of Pork Analysis at Express

Markets, Inc. (a subsidiary of Agri Stats, Inc.) through 2017. The description for the 2015

presentation stated that it would address “how you may need to adapt your business because of



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consumer spending trends, unemployment rates and industry capacity.” (emphasis added.) The

descriptions of the 2016, 2017, and 2018 sessions were virtually identical to each other: “The

economic impact of changing meat, poultry, and livestock supply and demand conditions provide

challenges for producers and retailers alike. This session will take an in-depth look at the beef,

pork, and poultry markets and explore how factors including weather, animal health, and changing

export markets continue to impact domestic availability and prices. Understanding changes in

consumer spending and worldwide economic trends, combined with the knowledge of what to

expect in livestock markets, will help you prepare for the coming years.” The 2016 through 2018

plenary sessions were followed by a “Market Outlook Extended Q&A” for small group discussion.

       111.    Until 2016, first AMI and then NAMI held an Annual Meeting and Outlook

Conference each fall.    The NAMI website described the 2015 annual meeting as “a great

networking and educational opportunity for the entire industry” with presentations on “key

industry topics . . . as well as outlook sessions for 2016 and the member to member education

provided by Issues Answers Action.” Scheduled presenters at the Annual Meeting and Outlook

Conference have included Cameron Bruett of JBS in 2015 and Phil Clemens of The Clemens

Family Corporation in 2016.

       112.    For years, NAMI also sponsored an annual “Meat Industry Management

Conference.” NAMI promoted the 2015 meeting as focusing on a variety of topics, including

“economics, and general business topics” and an “always popular Answers Actions session” that

“provides structured member interaction on a variety of issues and topics.” The NAMI board met

during the 2015 Management Conference.

       113.    In April 2017, NAMI replaced the Annual Meeting and Outlook Conference and

the Meat Industry Management Conference with an annual “Meat Industry Summit.” In addition




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to education sessions, the summit has included “networking opportunities and social events,”

including a golf tournament, receptions, and an Issues, Answers, Actions Breakfast, as well as the

annual Board of Directors meeting and what one publication described as “closed door committee

meetings to discuss policies and association business.” The 2017 Summit included a presentation

by John Nalivka of Sterling Marketing entitled “Economic Outlook for the Red Meat Industry,”

described as an “analysis of supply and demand and price forecasts” to “cover all aspects of the

supply chain, and help your business prepare for the years ahead.”

       114.     AMI sponsored the “International Meat, Poultry & Seafood Convention and

Exposition” in 2009, 2011, and 2012. In at least 2009 and 2011, AMI conducted its business

meeting during the Expo, electing members of its board of directors.

       115.     In January 2013, AMI’s International Meat, Poultry & Seafood Convention and

Exposition was integrated into the “International Production and Processing Expo” (“IPPE”), co-

produced by AMI and poultry and feed trade associations. Promotional materials for the 2014

IPPE indicated that attendees included Defendants Clemens Food Group, Hormel Foods, Hillshire

Brands, JBS, Seaboard, Smithfield Foods, Triumph Foods, and Tyson. After AMI’s 2015 merger

into NAMI, NAMI became (and still is) a presenting sponsor, along with the poultry and feed trade

associations.

       116.     Defendants also conspired with companies that provided services to the pork

industry but did not produce or sell pork, such as Agri Stats (a data benchmarking firm) and

AgStar, a financial services company now known as Compeer that specialized in loans to pork

producers).




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H. Defendants implemented capacity and supply restraints during the relevant period.

        1. Summary of Defendants’ Conspiratorial Supply Restraints

        117.    In the years leading up to the relevant period the steady expansion of pork

production was virtually a given. As one industry commentator reported in 2007, “Some things

you can just take to the bank. Sow herd expansion among the Pork Powerhouses would fall into

that category—even in the face of the biggest run-up in feed prices in history.”39

        118.    This historical trend changed markedly during the relevant period.                     As

demonstrated in Figure 7 below, at several points during the relevant period, the pork integrators

changed their behavior and acted in a concerted way to decrease supply. In 2009, 2010, and again

in 2013, the pork industry cut production.40 (The production dip in 2014 reflected the adverse

impacts from the deadly pig disease, porcine epidemic diarrhea virus, which took place in the

spring and summer of 2014.) These production decreases marked a drastic change from the period

prior to the conspiracy from 2000 through 2009, in which pork supply was stable and steadily

increasing on a yearly basis.




39
   Freese, Betsy, Pork Powerhouses 2007: Run-Up In Rations (Oct. 3, 2007).
40
   See U.S. I.T.C. Office of Industries, “Pork and Swine industry and Trade Summary” at 2 (Pub. ITS-11
Oct. 2014) (noting that slaughter capacity utilization generally declined between 2008 and 2013); id. at 19
(stating that the number of animals kept for breeding by U.S. swine producers declined between 2008-2010,
and that in 2012 the number of animals kept for breeding remained 5 percent below the level observed in
2008).


                                                    41
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            Figure 7: U.S. Annual Commercial Hog Production by Weight, 2000-2017




          119.    These supply cuts were coordinated, historic and unprecedented. For example, in

September 2009, Pork Powerhouses—which publishes reports and articles relating to pork

production—published an article entitled “Big Boys Cut Back” and reported that “[f]or the first

time since the annual Pork Powerhouses ranking was launched in 1994, the nation's largest 25

producers have cut sow numbers. These companies report 200,000 fewer sows than one year ago,

a drop of 6.4%.41

          120.    At the same time, pork producers were further reducing domestic supply by

devoting more and more production exports to overseas markets. The U.S. has been a net exporter

of pork products for a long time, but those exports have comprised a much larger share of total



41
     Freese, Betsy, Pork Powerhouses 2009: Big Boys Cut Back (Sep. 14, 2009).



                                                   42
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production in the past ten years. As shown in Figure 8 below, less than ten percent of U.S. pork

production was exported in 2000. By 2011, more than twenty percent was being exported.

Sending production overseas is another way in which Defendants were able to reduce the supply

available to U.S. markets, thereby driving up prices. Notably, a 2017 analysis found that for every

$1 million of pork exported out of the U.S., the live value in U.S. hogs climbs by 20 cents per cwt.

In other words, selling pork on the global market added $50.20 to the market price of hogs. The

significant expansion in exports meant that increases in hog production by Defendants did not

result in an increase in the supply of pork products in the United States market.

          Figure 8: U.S. Pork Exports as a Percent of Total Production, 2000-2017




       121.    As part of their acts and conduct in furtherance of the conspiracy, each of the

Defendants participated in these supply restraints. While the conspiracy was self-concealing in



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nature, the limited publicly available sources of information available regarding Defendants’

supply decisions evidences these supply constraints. These supply restrictions included, but were

not limited to, the conduct described herein.

                  a. Smithfield

          122.    In 2008 Smithfield stopped making traditional production increases and instead cut

its number of sows, reporting that, “We are focused on reducing the number of pigs that come off

sow farms, and making sure the ones that come off are worthy of the investment in feed.”42 In

2009, Smithfield confirmed publicly that it had already reduced the size of its U.S. herd by two

million market hogs annually, and it was initiating a further reduction of 3% of its U.S. sow herd,

effective immediately. Smithfield made additional production cuts in 2010, reporting a cut in its

domestic sow herd by 5% (about 45,000 sows). In 2011, despite increasing margins, Smithfield

continued to downsize its sow herd, and vowed publicly that it did not intend to increase capacity.

          123.    Smithfield also focused an increasing portion of its production on exports, with its

sister company in China, Shuanghui Development, opening a plant in China in 2015 to turn pork

sourced from Smithfield in the U.S. into packaged meat with the Smithfield label.

                  b. Tyson

          124.    Between 2008 and 2009 Tyson cut its sows by over 25%, marking a significant

reduction. In 2010 Tyson reported a 3.3% decrease in its Pork sales volume coupled with increased

export sales, which also accounted for a decrease in its capacity utilization rate. In 2013 Tyson

reported a 3.6% decrease in sales volume and decrease its capacity utilization in an effort to

“balance[ ] our supply with customer demand.”




42
     Freese, Betsy Pork Powerhouses 2008: The Big Squeeze (Sept. 4, 2008).


                                                    44
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               c. JBS/Cargill

       125.    In 2011 JBS USA reported that in the prior two years its pork export volume had

grown from 15% to 20% of total production at JBS USA. Also, after acquiring Cargill’s hog

production facilities, JBS reduced the number of sows it produced in 2016 despite increased

consumer demand. This production restriction had the intended effect: according to JBS’s 2016

annual report, “pork prices were 18% higher year on year at the end of 2016, on the back of

increased demand and output restrictions.”

               d. Hormel

       126.    In January 2008, the Farmer John’s division of Hormel announced liquidation of

about 10,000 sows in California, which was confirmed taken place in its 2008 Annual Report.

Hormel’s production statistics also show that it cut its number of sows in 2008 and maintained

such reduced production throughout the relevant period.

       127.    Hormel further reported tonnage reductions for its pork operations in its 2009

Annual Report. This is consistent with Hormel CEO’s statement in January 2009 that Hormel

would “certainly look for opportunities particularly in January where we could reduce the numbers

[of hogs] that we had going through.”43 Hormel also reported lower sales of pork products in 2013.

In June 2014, it was reported that Hormel reduced its capacity at its Los Angeles plant by 500 head

per day. Hormel reported strong earnings from its pork exports in 2011.

               e. Seaboard

       128.    Throughout the relevant period, including in 2010 and 2011, Seaboard placed an

increasing emphasis on exports and increased its volume of export sales to foreign markets.44


43
  Q1 2009 Hormel Foods Corporation Earnings Call Transcript (Feb. 19, 2009)
44
  See, e.g., Seaboard Corporation Annual Report (2010) (“export volumes increased particularly to our
higher valued markets in the Far East while domestic volumes nearly kept pace with 2009.”); Seaboard



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Seaboard dedicated several employees to international sales and exports. Seaboard also reduced

supply in 2013 and, once again, these reductions had their intended effect—higher pork prices.

Despite having an almost identical capacity as in 2012, it reported in 2013 that it had “lower sales

volume of pork products in the domestic market” which resulted in “higher prices for pork products

sold in the domestic market.” 45 Moreover, in 2017 Seaboard announced that it would delay

establishing a second shift at the Seaboard Triumph Foods processing facility.

               f. Triumph

       129.    In September 2008, Christensen Farms, a member of Triumph Foods, reported that

it had cut back 11,000 sows. In 2009 Triumph reported substantial cutbacks of approximately

24,500 sows, representing over 6% of its sow herd, contributing to historic production restraints

in the pork industry. Additionally, Triumph focused its production on exports, and stated on its

website that it is one of the top exporters of pork products worldwide. These exports constituted a

significant portion of its production throughout the relevant period, and reduced or otherwise

limited Triumph’s production in the United States.

               g. Clemens

       130.    In 2011 Clemens reported production of 1,000 fewer sows through its subsidiary

Hatfield Quality Meats. Furthermore, in 2014 Defendant Clemens had a competitive advantage

over many pork producers, in that it had few PEDv-infected pigs. But contrary to what one would

expect to see in a competitive market, Clemens did not utilize its advantage and refused to increase

its market share when it clearly had substantial market incentives to do so.




Corporation Annual Report (2011) (“Exports of US pork were up 23% to an all-time record as demand
from the usual countries remained strong and the US continued its role as the main supplier.”).
45
   See Seaboard Corporation Annual Report (2013).


                                                46
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          2. Timeline of Conspiratorial Actions

          131.    As set forth herein, each of the aforementioned supply reductions during the

relevant period were a departure from the integrator Defendants’ market behavior prior to the

relevant period. These supply restrictions involved a significant share of the Defendants’ annual

production and are in contravention of Defendants’ individual economic self-interest. These

unprecedented supply restriction strategies were a part of a coordinated antitrust conspiracy by

competitors to reduce and restrict supply in order to artificially, fix, raise, and stabilize the price

of pork. While Defendants went to great lengths to maintain the secrecy of their unlawful

anticompetitive agreements, they disclosed certain of their supply restriction efforts in public

earnings calls and other sources. As with their use of Agri Stats, Defendants exploited these public

statements in order to communicate their planned supply restrictions to their competitors in

furtherance of the conspiracy, and couched the public disclosures in pretext so as to conceal what

was really occurring. Although purchasers would not typically track and account for these

statements, they have now been unearthed and are summarized below.

          132.    Defendants’ conspiracy to restrict pork supply began around or shortly after the last

part of 2008. At that time, Joe Szaloky, director of financial planning and analysis with Murphy-

Brown LLC (the production arm of Smithfield Foods) said “[w]e are focused on reducing the

number of pigs that come off sow farms, and making sure the ones that come off are worthy of the

investment in feed.”46

          133.    In October of 2008, Hormel CEO Jeffrey Ettinger confirmed during an earnings

call that he expected to see a 3% reduction in overall pork supply in 2009.47 Tyson followed in



46
     Freese, Betsy, Pork Powerhouses 2008: The Big Squeeze (Sep. 4, 2008).
47
     Q4 2008 Hormel Foods Corporation Earnings Call Transcript (Oct. 26, 2008).



                                                   47
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November 2008, and Dick Bond, president and CEO of Tyson Foods, stated that there were likely

to be fewer hogs in 2009.48

          134.    During Hormel’s first quarter earnings call in January 2009, Mr. Ettinger once

again communicated that he expected supply to decrease in 2009. Hormel CFO Jody Faragan

confirmed that Hormel would “certainly look for opportunities particularly in January where we

could reduce the numbers that we had going through.”49

          135.    Throughout 2009, pork industry participants noted the need to follow the supply

restrictions imposed in the Broiler industry. For instance, in February 2009, AgStar VP Mark

Greenwood called on U.S. Pork producers to follow the lead of the Broiler and dairy industries by

reducing production, noting that the U.S. pork industry needed to reduce the sow herd by 5-10%,

which at a minimum would mean reducing the nation’s sow herd by 300,000 sows.

          136.    By January 2009, Hormel had reduced its sow numbers from 63,000 to 54,000. In

order to accomplish this reduction, Hormel sold sows in California and switched farms to finishing.

          137.    In January 2009, Tyson stated that the capacity utilization for its pork processing

plants was 90% for the quarter, down from the previous year’s rate of 94%. This indicated that

Tyson was reducing the amount of pork that it processed in its plants. Tyson stated that it would

“continue to watch forward hog supplies and make adjustments accordingly.”

          138.    In February 2009, Hormel stated that “we still do expect to see a reduction in the

supply of hogs in Fiscal 2009.” In response to an industry analyst question on whether slaughter

would be cut back, Hormel responded that “you look at the opportunity to reduce your

production numbers and we’ve certainly look[ed] for opportunities . . . where we could




48
     Q4 2008 Tyson Foods Earnings Call Transcript (Nov. 10, 2008).
49
     Q1 2009 Hormel Foods Corporation Earnings Call Transcript (Feb. 19, 2009).


                                                   48
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reduce the numbers that we had going through.” Hormel further emphasized that “if there were

free market hogs that normally we would be bidding on, we’re not looking to take them in.”

       139.    In February 2009, Smithfield said that it would close six processed meat plants.

       140.    In May 2009, Tyson stated that its capacity utilization rate for its pork processing

plants for the quarter was 87%, down from the previous year’s rate of 90%. Tyson described pork

“supplies coming down” and that “the worldwide suppliers of pork are still down.”

       141.    In May 2009, Larry Pope, the CEO and President of Smithfield, stated:

               In terms of chronology of how I say we proactively managed this
               business, in February of last year--February of ‘08, not February of
               ‘09--we made the decision with the over-supply of livestock to take
               the leadership position and start reducing our sow herds because
               we saw the overproduction and the oversupplies of the hogs into
               the market, which was driving our hog market down. We started
               a reduction of 50,000 sows and 1 million of our 18 million pigs, we
               started taking out of the system.50

       142.    In May 2009, Hormel confirmed that “[w]e see a contraction in the overall supply

of hogs for the year but not as much as we’d originally anticipated. And I would expect that prices

will be somewhat less than last year, but higher than what we’ve seen in the first half of the year.”51

       143.    In June 2009, Jody Feragen, Hormel’s CFO, stated at an investor conference that

“we reduced production in our basic processing for…pork.”

       144.    In June 2009, the CEO of Smithfield stated that the current cuts were not enough

and more were needed to “fix” the hog industry and that “[s]omebody else has got to do

something”:

               One of the things that we’re doing is managing what you can do and
               the 3% relates to one of our operations and it’s our -- I’ll tell you,
               it’s our Texas operation that sells pigs to seaboard. Seaboard knows

50
   Smithfield Foods at BMO Capital Markets Agriculture, Protein & Fertilizer Conference – Final (May 13,
2009) (emphasis added).
51
   Q2 2009 Hormel Foods Corporation Earnings Conference Call – Final (May 21, 2009).



                                                  49
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                 that. . . . That 3%, let me say that, our 3% will not fix the hog
                 industry. That part I’m confident of. Somebody else has got to do
                 something. We cut 13%. The first 10% didn’t fix it. I don’t think
                 us going from 10 to 13 is going to fix the hog business.52

          145.   In July 2009, Smithfield’s CEO went on to note in Smithfield’s annual report: “I

strongly believe that the hog production industry has reached an inflection point where, due to

deep and extended losses, liquidation is now a recognized reality by all in the industry. To date,

Smithfield has already reduced the size of its U.S. herd by two million market hogs annually, and

we are initiating a further reduction of 3% of our U.S. sow herd, effective immediately. This

reduction, combined with the additional cuts by our fellow producers should shrink supply to a

point where the industry can return to profitability. This liquidation is long overdue.” (Emphasis

added).

          146.   On July 25, 2009, it was publicly disclosed that both Tyson and Smithfield would

concurrently be engaging in sow reductions of a total of 47,000 sows in the near future.53

          147.   In August of 2009, Tyson Foods, Inc. Chief Operating Officer, James Lochner,

confirmed:

                 Hog supplies will be down in Q4 year over year but still adequate.
                 We do expect to see liquidation accelerate and pork production
                 decrease into 2010 and beyond to improve producer profitability.
                 We will continue to watch forward hog supplies to drive more
                 exports, monitor demand, focus on cost, mix, and pricing to generate
                 revenue.54




52
   Q4 2009 Smithfield Foods Earnings Conference Call – Final (June 16, 2009) (emphasis added).
53
   Weekly Review: Smithfield, Tyson to Liquidate Sows, The Pig Site (July 25, 2009), available at
https://thepigsite.com/news/2009/07/weekly-review-smithfield-tyson-to-liquidate-sows-1 (last visited
December 5, 2019).
54
   Q3 2009 Tyson Foods, Inc. Earnings Conference Call (June 26, 2009) (emphasis added).



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Mr. Lochner continued, “Looking forward in the pork segment we will see a gradual decline in

hog supplies to the first half of our fiscal year with additional year over year declines into Q3 and

Q4.”55

         148.   Tyson’s 2009 10K Report further stated that, “We expect to see a gradual decline

in hog supplies through the first half of fiscal 2010, which will accelerate into the second half of

fiscal 2010, resulting in industry slaughter slightly higher than 2007 (or roughly 4% less than fiscal

2009).”56

         149.   In August of 2009, Wesley Mendonça Batista, CEO of JBS USA, communicated

the start of JBS USA’s participation in hog liquidation efforts. Mr. Batista stated, “we are seeing

the start, we are seeing some increase in—not increase, we are seeing some more [hog] liquidation.

So we think we will continue to see the margin in the processing side strong this whole year. But

in the pork producers, it will be a real challenge for them, producers for, in the next quarters.”57

         150.   In August 2009, Steve Meyerof Paragon Economics, subsequently acquired by

Agri Stats, stated that “If we are to reduce output to drive prices up, we must reduce the sow herd

by a larger percentage than the productivity growth.”

         151.   In September 2009, the CEO of Smithfield stated that he had conversations with

“sizable large producers” and that they would be doing some liquidation:

                We can’t solve the problem. But the answer to that is yes, I have
                had conversations with several sizable, more than sizable large
                producers, in fact very large producers, and I would tell you they are
                doing some liquidation. But again, I don’t think they can solve it.

                I think this industry has got to solve it collectively. I do believe
                everyone is now looking, and when I’m talking to people who are
                financially extremely strong and they are cutting back, that’s got to

55
   Id.
56
   See Tyson 2009 10K Report, at p. 20.
57
   JBS 2008 Earnings Conference Call (Aug. 13, 2009).



                                                 51
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                be a statement about those people who are not financially strong.
                But the answer is, yes, there are others cutting back. We’re not
                the only one.58

        152.    Defendants responded to the encouragement from Smithfield to cut production.

During 2009, Triumph reduced the number of sows that it had from 396,000 to 371,500. In

particular, Triumph reduced the number of sows by 14,500 at its Christensen Facility; 4,000 at its

New Fashion Pork Facility, 5,000 at its Eichelbarger facility. Notably, Triumph and Seaboard have

a longstanding marketing agreement where hogs processed by Triumph were marketed by

Seaboard.59 Thus, the reduction in supply of sows raised by Triumph may result in a reduction in

the amount of pork that was sold by Seaboard.

        153.    During 2009, Tyson reduced the number of sows that it had from 70,000 to 52,000.

In particular, Tyson sold five farms and sent the sows to slaughter. Tyson’s 2009 10K report

further stated that “we expect to see a gradual decline in hog supplies through the first half of fiscal

2010, which will accelerate into the second half of fiscal 2010, resulting in industry slaughter

slightly higher than 2007 (or roughly 4% less than fiscal 2009).”

        154.    In November 2009, Hormel stated that “we’ve seen about a 2% liquidation” in hogs.

        155.    In December of 2009 the CEO of Smithfield confirmed it had done its “fair share”

to cut supply and communicated that others needed to continue cutting supply to “put this industry

back in balance”:

                We continue to take a leadership role there and we have continued
                to take sow reductions and liquidation in our own herds and all of
                that has essentially been completed from Smithfield’s side, so I
                think we’ve certainly done more than our fair share in terms of what

58
  Event Brief of Q1 2010 Smithfield Foods Earnings Conference Call (Sept. 8, 2009) (emphasis added).
59
  According to Seaboard Corporation’s 2010 Form 10-K, filed with the Securities and Exchange
Commission, “Seaboard’s Pork Division has an agreement with a similar size pork processor, Triumph
Foods LLC (Triumph), to market substantially all of the pork products produced at Triumph’s plant in St.
Joseph, Missouri.”



                                                   52
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                  this industry needs . . . . I can tell you that I know in the east, its
                  [sic] been pretty public about some of the producers on the east coast
                  that have been cutting back besides ourselves. We are getting a little
                  more information in the Midwest and I am saying that I have not
                  seen the significant Midwest reduction that would probably be
                  needed to put this industry back in balance.60

          156.    In a January 2010 article, an industry insider (believed to be Steve Meyer) noted

that the pork industry still needed a 12% reduction in order to restore the pork industry to

profitability, even though sow numbers had already dropped by more than 5% in 2009.

          157.    In March 2010, when asked about fourth quarter and 2011 volumes for pork, Larry

Pope, the CEO of Smithfield, indicated that further cuts were still to come:

                  Hog volumes for the rest of the fiscal year. That’s going to have the
                  impact starting next fiscal year when there is going to be 13,000 less.
                  But I think we’ll pick up some of that in our other operations. But I
                  think 8,000 or 9,000 or 10,000 of those a day will disappear from
                  our operations and that represents about 8% of our, 8% of the hogs
                  will be down. That’s for also the fresh pork side.61

          158.    In that same timeframe, Smithfield issued a press release stating:

                  The action items called for in the Pork Group restructuring plan are
                  complete and the benefits are meeting expectations. As of this
                  month, we have closed all six plants that were announced as part of
                  the restructuring plan early last year. . . .

                  We anticipate that fresh pork margins will improve as hog slaughter
                  levels continue to decline and the Sioux City plant is closed in April.

          159.    Those press release statements were confirmed in Smithfield’s quarterly results

filing for the quarterly period ending January 2010: “In January 2010 (fiscal 2010), we announced

that we will be closing our fresh pork processing plant located in Sioux City, Iowa in April 2010

(fiscal 2010). . . . Modest contractions in the U.S. sow herd have contributed to tightening supplies

which, in turn, is resulting in higher live hog market prices in the U.S.”


60
     Q2 2010 Smithfield Foods Earnings Conference Call – Final (Dec. 10, 2009).
61
     Event Brief of Q3 2010 Smithfield Foods Earnings Conference Call – Final (Mar. 11, 2010).


                                                    53
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          160.    On March 8, 2010, Wesley Mendonça Batista mentioned Defendant JBS’ reduction

in hog supply as a driver of profitability, and stated that these efforts were resulting in protein

shortages. Mr. Batista stated:

                  [A] combination of reduction in supply for cattle, for hogs and for
                  chicken and in the other hand the improvement and increase in
                  consumption in the emergent markets we are very optimistic about
                  our business, about the margin that we will see a strong demand and
                  this reduction in supply, so we believe that we will see some
                  shortage in protein going forward.62

Despite having the economic incentive (increased demand) to increase supply and capture market

share, JBS adhered to Defendants’ agreed upon scheme to limit hog supply.

          161.    As of March 2010, US pork production was noted to be down 7% so far, with 6%

of the reduction coming from a reduction in slaughter and 1% from lower market weights.

Defendants also were reported to have increased exports 8% by March 2010, which was expected

to lead to higher hog prices.

          162.    In May 2010, Tyson stated in its Q2 2010 earnings conference call that “Worldwide

protein supplies and US domestic availability are expected to remain below ’08 and ’09 levels.

We have seen good interest in Beef and Pork exports to a variety of global destinations.” Similarly,

in August 2010, Tyson stated in its earnings call that “Pork supplies in 2011 are anticipated to be

below their peak supplies in calendar 2008 and 2009, and most projections show no material

changes compared to 2010.”

          163.    In August 2010, Hormel stated that “our hog supply is down 3 to 4%.”63

          164.    In September 2010, Smithfield stated in a press release that the closure of its Sioux

City plant in April 2010 had led to an 11% reduction in its processing rate from the prior year.



62
     JBS Q2 2009 Earnings Conference Call (Mar. 8, 2010).
63
     Q3 2010 Hormel Foods Corporation Earnings Call.


                                                   54
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Smithfield further stated that “Industry-wide, slaughter volumes were down 3.5%” and “Lower

industry slaughter levels are expected to persist well into the company’s second quarter.”

Smithfield’s quarterly results from that time reflected that the volume reductions “should help

stabilize prices at healthier levels than fiscal 2010.”

        165.    The Defendants also acknowledged access to information that allowed them to

know that the supply of pork would not be increasing. For example, in December 2010, Larry

Pope, the CEO of Smithfield, stated:

                We certainly compare ourselves to our competitors as best we can.
                Given the information we think we have public plus what we think
                we know privately, how many they kill, what their processing levels
                are and things like to. This is information you may not quite have.
                And we have been certainly impressed with how our competitors
                have been able to achieve margins that we have not been able to
                achieve because our fresh pork competes very competitively with
                theirs.64

As set forth above, Smithfield had access to competitively sensitive information from its

competitors through the Agri Stats reports, which allowed it to know confidential supply

information from its competitors.

        166.    Supply level information regarding competitors allowed Defendants to know that

supply would not increase in the future, given the lifecycles of the animals. Based on this

knowledge, in November of 2010 Hormel CFO, Jody Feragen, stated that she did not think the

industry would see large scale expansion given profitability for the pork integrators.65

        167.    In February 2011, Tyson’s chief operating officer (COO) stated:

                I think there is still a widely held belief that our Beef and Pork
                profitability isn’t sustainable. I want to again explain why we don’t
                believe that is true. If we look at supply, current cattle and hogs


64
   Event Brief of Q2 2011 Smithfield Foods Earnings Conference Call – Final (Dec. 2010) (emphasis
added).
65
   Q1 2010 Hormel Foods Corporation Earnings Conference Call – Final (Nov 23, 2010).


                                                  55
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               production levels can’t change much in 2011 because of the limits
               of the animals’ lifecycles.

Again, the way to know the level of production in the industry would be through the provision of

competitively sensitive information by a competitor of Tyson.

       168.    In the face of ever-increasing margins, when asked whether the type of profits

would continue, in March 2011, Larry Pope and Robert (Bo) Manly of Smithfield confirmed to

their competitors that it would not increase capacity, even in the face of the clear profitability:

               LARRY POPE: We closed last night at nearly $64 for hogs. Yet we
               are projecting over the next 90 days we will be up another 20% from
               that. I mean those are big numbers to get the meat prices in the retail
               and food service case to cover that. . .

               HEATHER JONES: So you are just striking a note of caution
               because you know it can’t stay this way indefinitely; but it’s not that
               you foresee this reversion to that norm over the near term?

               BO MANLY: I don’t see it on the horizon, on the foreseeable
               horizon. We are still going to have -- should have good margins,
               but I can’t believe --

               LARRY POPE: Heather, we are sitting here today, we are halfway
               -- closing in on halfway through our fourth quarter, and we have had
               very good margins through February and March, through today. We
               have got double-digit margins today.

               BO MANLY: It will correct itself over the long run, because this
               type of return on investment would attract capital, would attract
               expansion, and we kill more pigs and drive the margins lower. So
               it will either happen by itself or someone is going to build a plant.

               HEATHER JONES: All right, okay. Thank you.

               LARRY POPE: You get two-year visibility on that, though. You
               get to know when somebody is building a plant because they have
               got to file for a permit and they have actually got to build the thing.
               . . . And by the way, we are not going to build a new plant to expand
               capacity.66



66
  Event Brief of Q3 2011 Smithfield Foods Earnings Conference Call – Final (Mar. 2011) (emphasis
added).


                                                  56
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       169.    In March 2012, the VP of Finance and chief accounting officer of Smithfield stated

that no one in the industry would be “real excited about adding capacity” when the losses of 24 to

36 months ago were considered:

               Nonetheless, you see some pretty significant fluctuations. Just two
               weeks ago, I think we had -- there were rumors the Chinese buying
               corn, and boom, all of a sudden the corn market is up $0.20, $0.30.
               So there is some volatility there. And what I would tell you is that
               keeps a lid on pork production. The pork guys in the United States
               have not forgotten 24 or 36 months ago when there were significant
               losses in the industry. There is no one going to be real excited
               about adding capacity, adding sows at a time when we’ve got such
               volatility.67

       170.    By May 2012, industry observers were noting that the reductions in slaughter

capacity meant Defendants may not have enough capacity to slaughter expected hog levels by the

fall. In fact, Steve Meyer of Paragon Economics noted that slaughter capacity would not keep up

with hog capacity through late 2013 given that Defendants were holding their slaughter levels

constant.

       171.    In August 2012, Indiana Packers’ president Gary Jacobson commented that the

pork company “runs ‘on a sold-out position.’”68 Mr. Jacobson attempted to make excuses for

reducing the supply of pork. “‘It’s been a good strong, steady growth,’ Jacobson said. ‘Indiana is

in the heart of corn country and pigs are the heart of corn consumption, so business has been very

good. This summer’s heat waves and drought are likely to affect pork prices starting this fall and

into the spring,’ said Jacobson. High corn prices make pig farming less profitable, he explained,

both reducing the supply of pork for processing plants come next spring and making the pork that

is on the market more expensive. In the short run, high temperatures make pigs less hungry and



67
   Smithfield Foods at Barclays Bank High Yield Bond and Syndicated Loan Conference – Final (Mar. 26,
2012) (emphasis added).
68
   Sarah Einselen, Food Packing Business Steady So Far, Pharos-Tribune (Aug. 1, 2012).


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they don’t fatten for market as quickly as they would in a cooler year. That means farmers either

wait longer to bring their swine to market or take them to market as usual but at a lighter weight.

‘So, the impact has not been really significant as far as production as a whole,’ Jacobson said, but

it remains to be seen how the drought will change the plant’s supply in the coming months.”69

       172.    On May 15, 2013, Wesley Mendonça Batista continued to demonstrate Defendant

JBS’s ability to constrain the pork market. During a quarterly earnings call, he stated that “[i]n

pork, given some restrictions in supply we have been able to pass price through the system and we

are seeing good margins in our pork business. So this is a clear sign that we have been able to pass

price increase in chicken and pork and not in the same extent in beef.”

       173.    In September 2013, Joe Szaloky, vice president of procurement and business

development for Smithfield, confirmed the company’s intention to maintain its sow number, not

adding any more.70

       174.    In December 2013, Steve Meyer of Paragon Economics said, “The breeding herd

figure implies NO GROWTH in spite of much lower costs and terrific profit opportunities in the

coming year.”71

       175.    In December 2013, Robert Manly of Smithfield emphasized that coordinated

industry action was necessary to “balance supply and demand”:

               So I think you really need to look at the overall industry balance of
               supply and demand to be able to determine, and the industry move
               prices up and collectively as a group. We’ve got limited ability to
               do it ourselves if the rest of the industry doesn’t follow, but the
               consumer tends to be willing to pay proportionately higher values

69
   Id.
70
   Freese, Betsy, Pork Powerhouses 2013: Disease Hits, Growth Continues,” Successful Farming,
(September 29, 2013), available at https://www.agriculture.com/livestock/hogs/pk-powerhouses-2013-
disease-hits-growth_283-ar34203 (last visited December 5, 2019).
71
   Meyer, Steve, “2014 Looks Good for U.S. Pork Producers,” National Hog Farmer (December 30,
2013), available at https://www.nationalhogfarmer.com/print/9053 (last visited December 5, 2019).



                                                 58
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               for their pork meat when small increments of supply are withdrawn
               from the marketplace.72

       176.    Defendants further refused to increase their capacity and gain market share even

when market fundamentals and economics dictated otherwise. For example, during the 2014

PEDv epidemic, which caused industry supply disruptions, Eric Haman, Defendant Clemens Food

Group’s communication manager, stated the disease “‘had a very minimal impact on our hog flow,

especially when you compare it to others in the industry. . . . That’s one of the many benefits of

raising hogs in Pennsylvania, since we have a much lower density of pigs than other states, which

decreases the risk of (a virus) like this.’”73 Yet, in furtherance of their conspiracy Defendant

Clemens did not take advantage of having few PEDv infected pigs. Instead of attempting to

increase their market share, they stayed the course with their fellow competitors.

       177.    Defendants’ conspiracy was yielding substantial profits by 2014. In October 2014,

Pork Powerhouses reported that “Hogs made history this summer. Pork producer profits were,

quite simply, enormous -- averaging $82 profit for each hog marketed in the third quarter.” The

report also noted that “Joe Szaloky, vice president of business development and planning for

Smithfield, is confident about profit during the next year, but ‘concerned 2016 could be

“problematic” if the industry expands too fast. The PED virus trimmed supply, but higher market

weights helped compensate.’”

       178.    In early 2015, Pig International noted the continuing problem of available daily

slaughter capacity limiting the ability to significantly expand pork production. Specifically, pork

producers rushed to Defendants with contracts that would protect them if production exceeded

slaughter capacity as some feared.


72
  Q2 2014 Smithfield Foods Earnings Conference Call (Dec. 23, 2013).
73
  Kyle Bagentose, Pig Virus Has Ability To Affect Local Herds, Bucks County Courier Times (May 4,
2014).


                                                59
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       179.    In February 2017, Seaboard and Triumph Foods announced plans to expand their

joint pork processing facility in Sioux City, Iowa, operated by their 50/50 joint venture with

Seaboard Triumph Foods, LLC, to include a second shift.74 In announcing the potential second

shift, Mark Porter, Seaboard Triumph Foods Chief Operating Officer, stated: “The timing of the

expansion for a second shift is a result of growing demand for the Seaboard Foods line of quality

pork products as well as ongoing growth in the industry.” 75 However, consistent with the

conspiracy, Triumph/Seaboard postponed the addition of a second shift.76

I. Abnormal pricing during the relevant period demonstrates the success of the collusive
   scheme.

       180.    Beginning in 2009, the pork industry showed abnormal price movements, i.e.,

increases in prices for the average hog whole price unexplained by increases in costs. All of these

pricing measurements show a significant break between pricing prior to 2009 and pricing after

2009, supporting the plausibility of a conspiracy to increase prices of pork. Plaintiff has measured

the various abnormal pricing movements in a number of ways, including: (i) the average live hog

price, (ii) the pork cut-out composite price, (iii) the pork integrators’ margin during the relevant

period, and (iv) the Defendants’ revenues before and during the relevant period. Each of these

measures supports Plaintiff’s allegations that Defendants conspired to restrict production and

otherwise acted in a concerted manner to increase pork prices in the U.S.




74
   David Eaheart, Seaboard Triumph Foods Announces Plans to Expand Pork Processing Plant (Feb. 17,
2017), available at
https://seaboardfoods.com/news/Pages/Seaboard%20Triumph%20Foods%20announce%20plans%20to%
20expand%20pork%20processing%20plant.aspx (last visited December 5, 2019).
75
   Id.
76
   Jeff DeYoung, Pork Packing Capacity Faces Delay to Growth, Iowa Farmer Today (June 2, 2018),
available at https://www.agupdate.com/iowafarmertoday/news/livestock/pork-packing-capacity-faces-
delays-to-growth/article_f86fde7e-64dc-11e8-b288-475ac8083072.html (last visited December 5, 2019).



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       1. The average hog wholesale price experienced an unprecedented increase
          beginning in 2009.

       181.     According to aggregate prices published by the USDA, prices for pork products

were less than $1.40/lb from 2000 to 2009, and the hog market year average price was at times

substantially less. Thereafter, prices increased dramatically, rising to more than $1.80/lb in 2014,

and never dropping below $1.40/lb again. Figure 9 below shows the unprecedented increase in

swine prices beginning in 2009, which stayed elevated through 2018.

              Figure 9: Average Hog Wholesale Prices in Cents per lb., 2000-2018




       182.     As Figure 10 below shows, pork integrators’ earnings increased steadily over the

years 2009 to 2016, with a slight decline in 2017, demonstrating an unusual increase in profits that

was resistant to changes in price during the relevant period. These substantial profit increases bear

the hallmarks of coordinated efforts to constrain supply short of demand.



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                Figure 10: Integrator Earnings per Retail Weight, 2000-2017




       2. The pork cut-out composite price experienced a dramatic increase beginning in
          2009 and continuing throughout the relevant period.

       183.    During the relevant period various pork products saw substantial increases in

prices, compared with before the relevant period. As shown in Figure 11 below, using one

particular price for pork, the lean hog composite price, a pricing analysis has been performed which

shows that the average price index increased significantly during the relevant period. A similar

effect is shown in Figure 12 below, using another metric of pork pricing, the pork cut-out

composite price (the relevant period is referred to herein as the class period in the charts below).




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              Figure 11: Lean Hog Composite Price 2000-2019




                 Figure 12: Pork Cut-Out Composite Price




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       3. Pork processor’s margin increased beginning in around 2009 showing a
          meaningful increase from earlier time periods.

       184.    Starting in 2008 or early 2009, at the same time as hog prices were increasing, pork

integrator margins increased significantly. The change in integrator margins during the relevant

period shows a divergence from pricing trends prior to the relevant period—and shows that rising

costs do not explain the increases in prices seen during the relevant period. The following figure

shows this increase in margin, retained by the Defendant/co-conspirators, using the pork cut-out

composite and live hog cost on a “dressed weight” basis (post slaughter and organ-removal

weight):

                Figure 13: Hog Spread Widening During the relevant period




       185.    When tested, there is a statistically significant increase in the average hog-

composite spread before that time period, when compared to during the relevant period (these

periods are sometimes referred to herein as the pre-class and class periods, including in the chart

below):




                                                64
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Figure 14: Statistically Significant Break in Hog Composite Spread Comparing Before and
                                   During Relevant Period




       4. Defendants’ revenues increased beginning in around 2009, even taking into
          account defendant-specific costs.

       186.    For two of the largest Defendants, Tyson and Smithfield, experts examined the

spread between pork revenue and pork-related costs (costs of goods sold + operating costs), as a

proxy for measuring the spread between a Defendant’s price of wholesale pork and its hog costs.

This measurement accounts for Defendant-specific operating costs. This analysis confirms the

beginning of abnormal pricing in around 2009, where there was a divergence in revenue and costs

beginning at the start of the relevant period in 2009.

       187.     Figure 15 shows a break in revenues and costs for Tyson around the start of the

relevant period, in 2009:




                                                 65
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              Figure 15: Tyson’s Revenues vs Costs, April 2002 to April 2018




       188.   The same analysis for Smithfield shows a similar break in revenues and costs

beginning around the beginning of the relevant period:




                                              66
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              Figure 16: Smithfield’s Revenues vs Costs, January 2004 to June 2016




          189.    These analyses of the spread between costs and prices relate solely to each

Defendant’s pork segment, and thus confirm that rising costs in pork production do not explain the

increases in price seen during the relevant period.

J. Overcharges due to the cartel were reflected in higher pork prices than what they
   would have been absent the conspiratorial activity.

          190.    Pork is a commodity product in which the pork sold by competitors has no

meaningful difference and is thus interchangeable. As such, price is driven by the economic

fundamentals of supply and demand. In the words of Tyson Foods, Inc. COO, James Lochner,

“As you know decreased supply should be favorable to pricing.”77


77
     Q1 2010 Tyson Foods, Inc. Earnings Conference Call (Feb. 12, 2010).



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       191.    By reducing, stabilizing, and maintaining the supply of pork even in the face of

increasing demand, Defendants’ common goal was to increase the price of pork and their margins.

In 2012, the CEO of Tyson reported that these efforts were successful, stating: “Well, what we’ve

seen happen, and it’s about evolving over time, is beef prices have inflated from a reduced supply,

increased global demand, same with pork prices inflating from reduced supply and global demand,

putting less domestic product on the market.”

       192.    For example, in 2016, Smithfield reported $3.7 billion of fresh pork sales and an

additional $5 billion in packaged pork product sales. With such enormous revenues, the ability

to stabilize or increase the margin even in small amounts has an enormous impact on profits,

resulting in substantial damages to Plaintiff.

       193.    The Bureau of Labor Statistics tracks commonly purchased products in its

Consumer Price Index (“CPI”). From the end of 2009 to the end of 2017, the CPI for all food

products rose approximately 15.4 percent. Over the same period, prices for pork have increased

substantially more for consumers over the relevant period. For example, the price of a pound of

bacon has increased from $3.57 at the end of 2009 to $5.60 at the end of 2017:




                                                 68
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     Figure 17: CPI-Average Price Data for Bacon, Sliced, per pound, from 1995-2017




       194.    Similarly, the CPI for other pork products, excluding canned ham and luncheon

slices, show a marked increase over the relevant period, moving from $2.05 per pound at the end

of 2009 to $2.65 at the end of 2017 (approximately 29.3 percent):

      Figure 18: CPI-Average Price Data for Other Pork, per pound, from 1998-2017




       195.    And the CPI for another commonly purchased consumer item, ham, shows an

increase from $2.15 at the end of 2009 to $2.91 at the end of 2017 (or 35.4 percent):




                                               69
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          Figure 19: CPI-Average Price Data for Ham, per pound, from 1998-2017




       196.    In other words, the increases in the prices of pork far outpaced the growth in prices

for other food products during the relevant period. These price increases were not the result of

retailers’ desire to move prices upward. Instead, they were the result of increased wholesale prices.

In addition to CPIs, the Bureau of Labor Statistics also maintains a series of Producer Price Indexes

(“PPI”) which measure the changes in wholesale prices for pork products. As shown in Figure 20

below, the processed pork wholesale prices appear to be the motivator of the higher retail prices,

with prices climbing significantly beginning during the conspiracy:




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  Figure 20: PPI for Pork, Processed or Cured, Not Canned or Made Into Sausage, from
                                        1995-2017




       197.    Given these market conditions, the overcharge due to Defendants’ anticompetitive

agreement to artificially increase and stabilize the price and supply of pork was borne in large part

by Plaintiff and other direct purchasers.

K. Defendants actively concealed the conspiracy and Plaintiff did not and could not have
   discovered Defendants’ anticompetitive conduct.

       198.    Plaintiff had neither actual nor constructive knowledge of the facts constituting its

claim for relief. Plaintiff did not discover, and could not have discovered through the exercise of

reasonable diligence, the existence of the conspiracy alleged herein until the filing of a direct

purchaser class action, Maplevale Farms, Inc. v. Agri Stats, Inc. et al., in June 2018. Defendants

engaged in a secret conspiracy that did not reveal facts that would put Plaintiff on inquiry notice

that there was a conspiracy to fix prices for pork. Throughout the relevant period, Defendants



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effectively, affirmatively, and fraudulently concealed their unlawful combination and conspiracy

from Plaintiff.

          199.    The combination and conspiracy alleged herein was fraudulently concealed by

Defendants by various means and methods, including but not limited to secret meetings,

surreptitious communications between Defendants by the use of the telephone or in-person

meetings in order to prevent the existence of written records, limiting any explicit reference to

competitor pricing or supply restraint communications on documents, communicating

competitively sensitive data to one another through Agri Stats—a “proprietary, privileged, and

confidential” system that kept both the content and participants in the system secret, and

concealing the existence and nature of their competitor supply restraint and price discussions from

non-conspirators (including customers).

          200.    Agri Stats is a highly secretive company. Although it admits it does “have a website

but there is very little information about us there as we do no advertising.”

          201.    In 2009, the President of Agri Stats, Brian Snyder, commented on how secretive

the true nature of Agri Stats was when he stated:

                  Agri Stats has always been kind of a quiet company. There’s not a
                  whole lot of people that know a lot about us obviously due to
                  confidentiality that we try to protect. We don’t advertise. We don’t
                  talk about what we do. It’s always kind of just in the background,
                  and really our specialty is working directly with companies about
                  their opportunities and so forth.78

          202.    At the same 2009 presentation, when discussing “bottom line numbers” (a

company’s net earnings), Mr. Snyder declined to display those numbers publicly, stating “I’m not

going to display the actual bottom line to the group here just because of the confidentiality nature



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     Sanderson Farms Investor Day – Final (Oct. 2009).



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of the information.”79 And yet, despite refusing to show this information publicly, Agri Stats

provided producers with the “bottom line numbers” of their competitors on a regular basis via the

reports discussed above. These statements acted to conceal the true detail and nature of the Agri

Stats reports from Plaintiff and the public in general.

       203.     Larry Pope, the CEO of Smithfield, made similar references to secret information

in December 2010, explaining that he was confident pork supplies would not be increasing in the

market, based on the following:

                the information we think we have public plus what we think we
                know privately, how many they kill, what their processing levels are
                and things like [that]. This is information you may not quite have.80

       204.     At other times, Defendants attributed the stability in the pork market to other

reasons such as “good programs with our retailers” and “lower grain costs.” As Larry Pope, stated

in June 2012:

                KEN ZASLOW: What evidence do you have to actually give you
                some confidence that fresh pork margins will improve sequentially
                throughout the year?

                LARRY POPE: Strong exports, $71 hog today, good programs with
                our retailers, and lower grain cost in the future and a futures market
                that says the hog market’s going to be fine. I guess beyond that,
                you’ve got chicken and beef that are going to be down significantly.

                BO MANLY: And I think there is also some optimism that the US
                consumer may have some greater disposable income from less
                gasoline prices and improvement in the economy.81

       205.     Not until recently was the fact of the pork industry’s use of Agri Stats widely known

or reported. An investigative article published in February 2017 by Bloomberg Businessweek



79
   Id.
80
   Event Brief of Q2 2011 Smithfield Foods Earnings Conference Call – Final (Dec. 2010) (emphasis
added).
81
   Event Brief of Q4 2012 Smithfield Foods Earnings Conference Call – Final (June 14, 2012).



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suggested the conspiracy that began among Broiler producers and Agri Stats was being replicated

in the pork industry.82 The article reported that Agri Stats

               has . . . been branching out into the hog business, which has, over
               the past 30 years, started to look more and more like the chicken
               industry, with hogs being raised under contract for vertically
               integrated companies such as Smithfield Foods. It appears that
               demand for the service is strong. At a hog industry trade show in
               2011, an Agri Stats employee pitched the company’s services. His
               slideshow indicated that 27 companies had already signed up.83

While Bloomberg Businessweek article did not conclude that pork producers were engaged in a

horizontal conspiracy, it did suggest for the first time in a widely circulated article that the pork

industry may have been using Agri Stats as a vehicle for collusion similar to the Broiler industry.

       206.    Only after the filing of a February 7, 2018, Second Consolidated and Amended

Complaint by the End User Plaintiff Class in the In Re Broiler Chicken Antitrust Litigation, Case

No. 1:16-cv-08637 (N.D. Ill.), was there a comprehensive presentation of the full scope of the

confidential services that Agri Stats’ provides to its clients in the Broiler industry.

       207.    The filing of that amended complaint, along with the February 2017 article by

Bloomberg Businessweek disclosing the pork industry’s use of Agri Stats, collectively disclosed

the likelihood that the pork industry was using Agri Stats to share confidential industry information

that could facilitate an anticompetitive conspiracy.

       208.    Defendants’ anticompetitive conspiracy, by its very nature, was self-concealing.

Pork is not exempt from antitrust regulation, and, thus, before these recent events Plaintiff

reasonably considered it to be a competitive industry. Accordingly, a reasonable person under the



82
   See Christopher Leonard, Is the Chicken Industry Rigged?, Bloomberg Businessweek (Feb. 15, 2017),
available at https://www.bloomberg.com/news/features/2017-02-15/is-the-chicken-industry-rigged (last
visited December 5, 2019).
83
   Id.



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circumstances would not have been alerted to begin to investigate the legitimacy of Defendants’

pork prices before these recent events.

        209.   By virtue of the fraudulent concealment of their wrongful conduct by Defendants

and all of their co-conspirators, the running of any statute of limitations has been tolled and

suspended with respect to any claims and rights of action that Plaintiff has as a result of the

unlawful combination and conspiracy alleged in this Complaint.

V.      ANTITRUST INJURY

        210.   Defendants’ anticompetitive conduct had the following effects, among others:

                A.      Price competition has been restrained or eliminated with respect to
                        pork;

                B.      The prices of pork have been fixed, raised, stabilized, or maintained at
                        artificially inflated levels;

                C.      Plaintiff has been deprived of free and open competition; and

                D.      Plaintiff has paid artificially inflated prices.

        211.   The purpose of the conspiratorial conduct of the Defendants and their co-

conspirators was to raise, fix, or maintain the price of pork. As a direct and foreseeable result,

Plaintiff paid supra-competitive prices for pork during the relevant period.

        212.   By reason of the alleged violations of the antitrust laws, Plaintiff has sustained

injury to its businesses or property, having paid higher prices for pork than they would have paid

in the absence of Defendants’ illegal contract, combination, or conspiracy and, as a result, have

suffered damages.

        213.   This is an antitrust injury of the type that the antitrust laws were meant to prohibit.

VI.     VIOLATION OF SECTION 1 OF THE SHERMAN ACT

        214.   Plaintiff incorporates by reference the allegations in the preceding paragraphs.




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       215.    Defendants and all of their co-conspirators entered into and engaged in a

combination or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1.

       216.    Defendants’ acts in furtherance of their combination or conspiracy were authorized,

ordered, or done by their officers, agents, employees, or representatives while actively engaged in

the management of Defendants’ affairs.

       217.    At least as early as January 1, 2009, and continuing until present, the exact dates

being unknown to Plaintiff, Defendants and all of their co-conspirators entered into a continuing

agreement, understanding and conspiracy in restraint of trade to fix, raise, stabilize, and maintain

prices for pork, thereby creating anticompetitive effects.

       218.    Defendants’ anticompetitive acts had a direct, substantial, and foreseeable effect on

interstate commerce by raising and fixing prices for pork throughout the United States.

       219.    The conspiratorial acts and combinations have caused unreasonable restraints in the

market for pork.

       220.    As a result of Defendants’ unlawful conduct, Plaintiff has been harmed by being

forced to pay inflated, supra-competitive prices for pork.

       221.    In formulating and carrying out the alleged agreement, understanding, and

conspiracy, Defendants and all of their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth in

this Complaint. Defendants’ conspiracy had the following effects, among others:

               A. Price competition in the market for pork has been restrained, suppressed, and/or
                  eliminated in the United States;
               B. Prices for pork sold by Defendants, their divisions, subsidiaries, and affiliates,
                  and all of their co-conspirators have been fixed, raised, stabilized, and
                  maintained at artificially high, non-competitive levels throughout the United
                  States; and



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                  C. Plaintiff—which directly purchased pork from Defendants, their divisions,
                     subsidiaries, and affiliates, and all of their co-conspirators—has been deprived
                     of the benefits of free and open competition in the purchase of pork.

         222.     Defendants took all of the actions alleged in this Complaint with the knowledge

and intended effect that their actions would proximately cause the price of pork to be higher than

it would be but for Defendants’ conduct.

         223.     As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiff

has been injured in its business or property and will continue to be injured in its business and

property by paying more for pork than it would have paid and will pay in the absence of the

conspiracy.

         224.     The alleged contract, combination, or conspiracy is a per se violation of the federal

antitrust laws.

VII.     REQUEST FOR RELIEF

         WHEREFORE, Plaintiff demands judgment against Defendants as follows:

         225.     The unlawful conduct, conspiracy, or combination alleged herein be adjudged and

decreed:

                   A.     An unreasonable restraint of trade or commerce in violation of Section 1
                          of the Sherman Act; and

                   B.     A per se violation of Section 1 of the Sherman Act;

         226.     Plaintiff recovers damages, to the maximum extent allowed under federal antitrust

laws, and that a joint and several judgment in favor of Plaintiff be entered against Defendants in

an amount to be trebled under U.S. antitrust laws;

         227.     Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any



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manner continuing, maintaining or renewing the conduct, conspiracy, or combination alleged

herein, or from entering into any other conspiracy or combination having a similar purpose or

effect, and from adopting or following any practice, plan, program, or device having a similar

purpose or effect;

        228.    Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any manner

continuing, maintaining, or renewing the sharing of highly sensitive competitive information that

permits individual identification of company’s information;

        229.    Plaintiff be awarded pre- and post-judgment interest as provided by law, and that

such interest be awarded at the highest legal rate from and after the date of service of this

Complaint;

        230.    Plaintiff recovers its costs of suit, including reasonable attorneys’ fees, as provided

by law; and

        231.    Plaintiff receives such other and further relief as the case may require and the Court

may deem just and proper.

VIII. JURY TRIAL DEMANDED

        232.    Plaintiff demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

Civil Procedure, of all issues so triable.

Dated: December 16, 2022

                                               Respectfully submitted,


                                               /s/ Philip J. Iovieno
                                               Philip J. Iovieno
                                               Nicholas A. Gravante, Jr.



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